       Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 1 of 101




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



FULTON COUNTY EMPLOYEES’ RETIREMENT SYSTEM,          Case No.:
Derivatively on Behalf of THE GOLDMAN SACHS GROUP,
INC.,
                                                     JURY TRIAL DEMANDED
                  Plaintiff,

v.

LLOYD BLANKFEIN, DAVID M. SOLOMON, M. MICHELE
BURNS, DREW G. FAUST, MARK A. FLAHERTY,
WILLIAM W. GEORGE, JAMES A. JOHNSON, ELLEN J.
KULLMAN, LAKSHMI N. MITTAL, ADEBAYO O.
OGUNLESI, PETER OPPENHEIMER, JAN E. TIGHE,
DAVID A. VINIAR, and MARK O. WINKELMAN,

                  Defendants,

and

THE GOLDMAN SACHS GROUP, INC.,

                  Nominal Defendant.




             VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT
         Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 2 of 101




                                                  TABLE OF CONTENTS

I.     Nature of the Action............................................................................................................ 1

II.    Jurisdiction and Venue........................................................................................................ 6

III.   Parties .................................................................................................................................. 6

       A.         Plaintiff ................................................................................................................... 6

       B.         Nominal Defendant ................................................................................................. 7

       C.         The Individual Defendants ...................................................................................... 7

IV.    The 1MDB Scandal........................................................................................................... 10

       A.         Background of Goldman: The “Vampire Squid”.................................................. 10

       B.         Goldman Plays a Pivotal Role in the Formation of 1MDB .................................. 11

       C.         Goldman Refuses to Do Business with Low on Multiple Occasions, Citing
                  “Significant Adverse Information and Questionable Sources of Wealth”............ 12

       D.         Goldman Turns a Blind Eye to Low’s Involvement in the 1MDB Bond
                  Offerings ............................................................................................................... 14

                  1.          Project Magnolia: Defendants Ignore a Series of Blatant Red Flags in
                              a Rush to Siphon Fees From Asia’s Largest Bond Issuance .................... 15

                  2.          Goldman Again Turns a Blind Eye to Corruption, Illegal Activity, and
                              Low’s Involvement in Project Maximus................................................... 21

                  3.          Goldman Again Disregards Illegal Activity, Corruption, and Low’s
                              Involvement in Project Catalyze ............................................................... 24

       E.         “Too Many Red Flags”: The Board Disregards Multiple, Significant Red Flags
                  Arising From Goldman’s Involvement in the 1MDB Deals ................................. 27

       F.         The Truth About the 1MDB Corruption Comes to Light ..................................... 32

       G.         The Massive Fallout From the 1MDB Scandal was Swift and Severe ................. 34

                  1.          Goldman’s Conduct Relating to 1MDB Has Spawned Multiple
                              Criminal, Civil, and Regulatory Actions .................................................. 34

                  2.          Defendants’ Misconduct Has Exposed Goldman to Billions of Dollars
                              of Liabilities .............................................................................................. 41



                                                                      ii
          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 3 of 101




V.      The Defendants Violated Section 10(b) of the Exchange Act and Breached their
        Fiduciary Duties by Knowingly or Recklessly Issuing Materially False and Misleading
        Statements During the Relevant Period ............................................................................ 43

        A.        Defendants Caused Goldman Sachs to Conduct a Massive Stock Repurchase
                  Program ................................................................................................................. 43

        B.        In Connection with the Share Repurchases, Defendants Issued Materially
                  False and Misleading Statements .......................................................................... 45

                  1.         False and Misleading Statements Regarding Goldman’s Financial
                             Results ....................................................................................................... 46

                  2.         False Statements Regarding Goldman’s Risk Exposure and Risk
                             Management .............................................................................................. 47

                  3.         False Statements Regarding Goldman’s Internal Controls ....................... 49

        C.        In Repurchasing Stock, Goldman Relied on Defendants’ False and Misleading
                  Statements ............................................................................................................. 52

        D.        Neither the Statutory “Safe Harbor” Nor the “Bespeaks Caution” Doctrines
                  Apply to Defendants’ Misrepresentations ............................................................ 54

        E.        Defendants’ Misstatements and Omissions Damaged Goldman .......................... 54

        F.        Defendants Blankfein, Solomon, and Viniar Unlawfully Profited at Goldman’s
                  Expense by Selling Shares While in Possession of Non-Public Information ....... 55

VI.     The Defendants Violated Section 14(a) of the Exchange Action and SEC Rule 14a-9, and
        Beached Their Fiduciary Duties by Causing the Company to File Materilly Misleading
        Proxy Statements .............................................................................................................. 58

        A.        Defendants Caused Goldman to Issue Materially False and Misleading
                  Statements in the 2016 Proxy ............................................................................... 58

        B.        Defendants Caused Goldman to Issue Materially False and Misleading
                  Statements in the 2017 Proxy ............................................................................... 62

        C.        Defendants Caused Goldman to Issue Materially False and Misleading
                  Statements in the 2018 Proxy ............................................................................... 66

VII.    Additional Damages to Goldman...................................................................................... 70

VIII.   Defendants Were Obligated to Safeguard the Company’s Interests ................................. 71

        A.        The Duties of All Defendants ............................................................................... 71



                                                                   iii
         Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 4 of 101




       B.         The Board and its Committees Were Expressly Charged with Overseeing and
                  Monitoring Goldman’s Compliance Function and Risk Exposure ....................... 73

IX.    Derivative and Demand Futility Allegtions ...................................................................... 79

       A.         Demand is Excused Because the Defendants’ Conduct Did Not Constitute a
                  Valid Exercise of Business Judgment ................................................................... 80

       B.         Demand is Excused Because the Director Defendants Face a Substantial
                  Likelihood of Liability .......................................................................................... 82

       C.         Demand is Futile Because the Directors are Financially Beholden to Goldman .. 84

X.     Claims Against Defendants .............................................................................................. 86

XI.    Praryer for Relief ............................................................................................................. 95

XII.   Jury Demand ..................................................................................................................... 96




                                                                  iv
         Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 5 of 101




       Plaintiff Fulton County Employees’ Retirement System (“Fulton County” or “Plaintiff”),

by and through its undersigned attorneys, submits this Verified Shareholder Derivative

Complaint (the “Complaint”) against Defendants named herein.

I.     NATURE OF THE ACTION

       1.      This shareholder derivative action brought for the benefit of Nominal Defendant

Goldman Sachs Group, Inc. (“Goldman” or the “Company”), arises from Goldman’s destructive

business culture which, according to a recent federal indictment, prioritized the consummation of

deals ahead of the proper operation of its compliance functions.

       2.      In 2010, Goldman survived a near existential threat stemming from the worldwide

financial meltdown and its role in the Abacus mortgage-backed securities scandal, which

resulted in a record payment of over $500 million in fines to the SEC. Subsequently, Goldman

Sachs embarked on an aggressive strategy of global expansion to avoid increased regulations and

scrutiny in the U.S. and to “be Goldman Sachs in more places.”1 Integral to this strategy was

expansion in Asia, where institutions held more than $12 trillion in assets. To facilitate these

lucrative relationships, Goldman Sachs hired “rainmakers” with strong appetites for risk to

mastermind the development of the richly profitable Asian market.2

       3.      This strategy appeared highly successful. From 2012 to 2013, Goldman bankers

earned the Company approximately $600 million in fees on three bond offerings for the deeply

corrupt Malaysian sovereign wealth fund 1 Malaysia Development Berhad (“1MDB”). These

were among the largest bond offerings ever issued in Asia, totaling over $6.5 billion on their

face. They were also extremely suspicious and enveloped by numerous red flags:

1
  The Wall Street Journal, “Goldman Sachs Strategy: Be Goldman in More Places” (Dec. 20,
2010) available at https://blogs.wsj.com/deals/2010/12/20/goldman-sachs-strategy-be-goldman-
in-more-places/.
2
  Financial Times, “How Goldman’s high-flying Italian partner was embroiled in scandal” (Nov.
11, 2018), available at https://www.ft.com/content/faebf3fc-e3e6-11e8-8e70-5e22a430c1ad.
                                                1
Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 6 of 101




           a.      The offerings were structured as private placements rather than

    public bond offerings, with Goldman buying the bonds and then selling them to

    investors to conceal these deals from public scrutiny;

           b.      Goldman’s bankers on the deal worked closely with rogue

    Malaysian financier, Jho Low. Goldman had already rejected Low as a private

    wealth management client, citing “significant adverse information” along with his

    “questionable sources of wealth. . . .” Despite Low’s involvement as the central

    figure in the 1MDB scheme, funneling millions of dollars in bribes to corrupt

    officials, Low met with then-CEO Lloyd Blankfein twice to discuss Goldman’s

    business with 1MDB;

           c.      The bonds were expensive, priced hundreds of basis points above

    comparable securities. Goldman’s approximately $600 million in fees for

    underwriting the 1MDB bond offerings was also abnormally high, amounting to

    up to 11% of the issue, which was a gross deviation from the standard fees of half

    a percentage point for typical Malaysian investment-grade bond deals, and one

    percentage point for high yield debt;

           d.      1MDB obtained a guarantee on the debt from an Abu Dhabi

    government investment fund, International Petroleum Investment Company

    (“IPIC”), which had seldom, if ever, provided such guarantees. Officials of IPIC

    were the recipient of millions of dollars in bribes;

           e.      Senior Goldman bankers who spoke out against the offerings,

    including the Company’s President in Asia and the son of the future Prime




                                      2
         Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 7 of 101




              Minister of Australia, were overruled, replaced with yes-men, and eventually

              found themselves out of a job at Goldman.

        4.    Goldman’s Board failed to respond to these and a myriad of other obvious

warning signs – including multiple contemporaneous exposés from highly reputable financial

publications pointing out these red flags and detailing the dubious aspects of these deals. For

example, on July 2, 2012, just months after the first of three 1MDB bond offerings closed, the

Financial Times published an article characterizing the first bond as “one puzzle wrapped up in

another,” describing its pricing as a “mystery” because it was so dramatically out of line with

similar offerings.3 An April 2013 Reuters article asked “[w]hy wasn’t the transaction launched,

marketed and distributed like any conventional bond transaction rather than placed privately?,”

and noted 1MDB had been “criticized” for “lacking transparency.”4 A May 1, 2013 Financial

Times article questioned the “hurried nature of the deal” and noted the “sharp criticism”

Goldman was already facing for its grossly outsized profits.5       Indeed, the circumstances

surrounding the offering were so suspicious that they were referred to as “red flags” in a

Bloomberg article,6 and the offerings became a contentious issue in Malaysian elections that

year.




3
  Financial Times, “1MDB of Malaysia’s $1.75bn bond: one puzzle wrapped up in another”
(July 2, 2012), available at https://www.ft.com/content/6c879300-465c-3a2b-ab04-
a35e1d2e831e.
4
   Reuters, “Time for 1MDB to come out in the open,” (Apr. 15, 2013), available at
https://www.reuters.com/article/malaysia-bonds/comment-time-for-1mdb-to-come-out-in-the-
open-idUSL3N0D241620130415.
5
  Financial Times, “Goldman Sachs criticised over $3bn Malaysia bond deal,” (May 1, 2013)
available at https://www.ft.com/content/ed31cbde-b222-11e2-8540-00144feabdc0.
6
   Bloomberg, “Goldman-Arranged Bond Sale Stings Najib Before Malaysia Election,”
Bloomberg, (May 2, 2013) available at https://www.bloomberg.com/news/articles/2013-05-
02/goldman-arranged-bond-sale-stings-najib-before-malaysia-election.
                                              3
          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 8 of 101




         5.    By early 2014, the suspicious bond deals attracted the scrutiny of the Federal

Reserve, which warned Goldman about its inadequate vetting of the deals and questioned why

1MDB had issued such large bond offerings when it appeared to already have been flush with

cash.7 Yet, even facing intensive scrutiny from the Company’s main U.S. regulator, the Board

took no action to investigate Goldman’s involvement with 1MDB or to prevent further

entanglements.

         6.    Beginning in 2015 and 2016, additional news reports were published regarding

the endemic corruption of the 1MDB deals. Malaysian police raided 1MDB’s offices in 2015.

In March 2016, Bloomberg reported that Tim Leissner, Goldman’s lead banker on the 1MDB

deals, had been subpoenaed in connection to a probe linked to 1MDB. That same year, two

high-ranking Abu Dhabi officials connected to 1MDB were dismissed from their positions and

arrested in connection with their roles in the bond issuances.

         7.    In the face of these additional, significant red flags, however, Defendants

repeatedly failed to act. Had the Board done even a cursory investigation of these highly suspect

bond offerings, it would have easily discovered the fraud, embezzlement and corruption taking

place.    Indeed, merely by directing a search of Goldman’s internal email system for

communications relating to the deals, the Board would have learned (1) that Low was at the

center of the corrupt 1MDB bond offerings; (2) that Goldman employees had lied about Low’s

involvement in the deals; and (3) that after the deals closed, Goldman employees and Low

engaged in a massive money laundering and bribery scheme. Indeed, even a cursory search of

Goldman’s records and emails for information about Low would have revealed that Low was so



7
  The Wall Street Journal, “Fed Warned Goldman on Malaysia Bond Deals” (Apr. 6, 2016),
available    at    https://www.wsj.com/articles/fed-warned-goldman-on-malaysia-bond-deals-
1459974246.
                                                 4
         Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 9 of 101




problematic that Goldman’s own Compliance Group had refused to approve Low as a private

banking client, due to widespread suspicion that his wealth was ill-gotten and negative news

coverage surrounding his lavish spending.

       8.      The dam finally broke in late 2018, when the full extent of Goldman’s exposure

to the 1MDB scandal became apparent. Goldman’s bankers and other co-conspirators had looted

the bond offerings on a historic scale, siphoning off billions of dollars from the proceeds. In

August of that year, Goldman bankers Tim Leissner and Roger Ng were indicted on charges of

conspiracy to commit money laundering and conspiracy to violate the Foreign Corrupt Practices

Act (“FCPA”) in connection with their roles in the 1MDB scandal. Leissner has since pled

guilty to the charges, while Ng is currently in a Malaysian prison awaiting extradition. Low is

on the run and believed to be hiding in China. The Prime Minister of Malaysia, who was the

recipient of tens of millions of dollars of bribes, lost his re-election bid in May 2018, ending a

61-year reign for his party. Since his election defeat, he has been arrested and hit with 38

charges related to the scandal.

       9.      In 2018, Goldman was the worst performing stock in the Dow Jones Industrial

Average, with much of its share price decline due to the 1MDB scandal. Goldman has been sued

for $7.5 billion by the Malaysian government and recently increased its provision for litigation

and regulatory proceedings to $516 million – from just $9 million a year earlier – with sources

explaining that the increase is directly tied to the 1MDB scandal. The Federal Reserve and the

New York Department of Financial Services, among other regulators, have also opened

investigations. Analysts, meanwhile, have estimated that Goldman could face up to $5 billion in

costs relating to the scandal, to say nothing of the massive reputational damages inflicted on the

Company.



                                                5
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 10 of 101




       10.     In short, throughout the Relevant Period (January 1, 2012 to the present),

Defendants failed to serve the best interests of Goldman and its shareholders. Defendants have

cast aside their fiduciary duties in the name of fees and profits, actively fostering a corporate

culture that placed closing deals over compliance, and knowingly permitting and condoning a

system whereby Goldman’s hamstrung controls could be “easily circumvented,” according to

Ng’s indictment.      Their misconduct has gravely injured the Company, and as a result,

Defendants are liable to Goldman for breaches of their fiduciary duties, for liability under

Sections 10(b) and 14(a), of the Securities Exchange Act of 1934 (“Exchange Act”), as well as

other violations of state law.

II.    JURISDICTION AND VENUE

       11.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 in that

this Complaint states a federal question. This Court has supplemental jurisdiction over the state

law claims asserted herein pursuant to 28 U.S.C. § 1367(a). This action is not a collusive one to

confer jurisdiction on a court of the United States which it would not otherwise have.

       12.     Venue is proper in this Court because Goldman has its principal place of business

in this District, Plaintiff’s claims arose in this District, and Goldman has suffered and will

continue to suffer harm in this District.

III.   PARTIES

       A.      Plaintiff

       13.     Plaintiff Fulton County Employees’ Retirement System (“Plaintiff” or “Fulton

County”) oversees all matters relating to the management and payment of pension and retirement

benefits to all eligible employees of Fulton County, Georgia. Fulton County is, and at all relevant

times was, a shareholder of Nominal Defendant Goldman.



                                                6
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 11 of 101




       B.     Nominal Defendant

       14.    Nominal Defendant The Goldman Sachs Group, Inc. (“Goldman” or the

“Company”) is incorporated under the laws of Delaware and located within this district at 200

West Street, New York, New York, 10282. Goldman is a leading global investment banking,

securities, and investment management firm that specializes in providing a wide range of

financial services to a substantial and diversified client base. Goldman is a bank holding

company and a financial holding company regulated by the Board of Governors of the Federal

Reserve System under the U.S. Bank Holding Company Act of 1956.

       C.     The Individual Defendants

       15.    Defendant Lloyd C. Blankfein (“Blankfein”) has served as senior chairman of

Goldman Sachs since 2019, and chairman and chief executive from 2006 until the end of 2018.

He was elected to the Board in 2003. In fiscal year 2016 Goldman paid Blankfein $20,206,898 in

total compensation; his base salary was $2 million. In 2017, Blankfein’s total compensation was

$21,995,266; his base salary was unchanged at $2 million.

       16.    Defendant David Solomon (“Solomon”) is Chairman and Chief Executive

Officer. In July 2018, Solomon was named CEO, succeeding Lloyd Blankfein as of October 1,

2018, and became chairman at the end of 2018. Prior to this, he was President and Chief

Operating Officer from January 2017 to September 2018, and joint head of the investment

banking division from July 2006 to December 2016, during the time of the 1MDB offerings. In

fiscal year 2017, Goldman paid Solomon $16,376,111.00 in total compensation. Of this total,

$1,850,000 was received as a salary, $5,745,000 was received as a bonus, $8,547,708 was

awarded as stock and $233,207 came from other types of compensation.

       17.    Defendant M. Michele Burns (“Burns”) has served as a Director at Goldman since

2011. Burns is also Chair of the Compensation Committee and a member of the Risk and

                                              7
         Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 12 of 101




Governance Committees. From 2012 through 2017, Burns was awarded more than $3.5 million

in fees, stock awards, and other compensation for her service on the Board.

         18.   Defendant Drew Faust (“Faust”) has served as a Director at Goldman since July

2018 and is a member of the Governance, Public Responsibilities and Risk Committees.

         19.   Defendant Mark Flaherty (“Flaherty”) has served as a Director at Goldman since

2014. He also is a member of Audit, Governance and Risk Committees. From 2014 through

2017, Flaherty was awarded more than $1.7 million in fees, stock awards, and other

compensation for his service on the Board.

         20.   Defendant William W. George (“George”) has served as a Director at Goldman

since 2002. He also Chairs the Public Responsibilities Committee and is a member of the

Compensation and Governance Committees. From 2012 through 2017, George was awarded

approximately $3.5 million in fees, stock awards, and other compensation for his service on the

Board.

         21.   Defendant James A. Johnson (“Johnson”) has served as a Director at Goldman

since 1999. He also is a member of Compensation, Governance and, Public Responsibilities

Committees. From 2012 through 2017, Johnson was awarded more than $3.5 million in fees,

stock awards, and other compensation for his service on the Board.

         22.   Defendant Ellen Kullman (“Kullman”) has served as a Director at Goldman since

2016. She also is a member of the Compensation, Governance and Risk Committees. From 2016

through 2017, Kullman was awarded more than $600,000 in fees, stock awards, and other

compensation for her service on the Board.

         23.   Defendant Lakshmi Mittal (“Mittal”) has served as a Director at Goldman since

2008. He is also a member of the Compensation, Governance and, Public Responsibilities



                                               8
         Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 13 of 101




Committees. From 2012 through 2017, Mittal was awarded more than $3.3 million in fees, stock

awards, and other compensation for his service on the Board.

         24.   Defendant Adebayo Ogunlesi (“Ogunlesi”) has served as a Director at Goldman

since 2012. He is the Lead Director, and is also a member of the Audit, Compensation, Corporate

Governance Nominating and Risk Committees. From 2012 through 2017, Ogunlesi was awarded

more than $3.1 million in fees, stock awards, and other compensation for his service on the

Board.

         25.   Defendant Peter Oppenheimer (“Oppenheimer”) has served as a Director at

Goldman since 2014. He also is the Chair of the Audit committee and is a member of the

Governance and Risk Committees. From 2014 through 2017, Oppenheimer was awarded more

than $2.2 million in fees, stock awards, and other compensation for his service on the Board.

         26.   Defendant Jane Tighe (“Tighe”) has served as a Director at Goldman since 2018

and is a member of the Governance, Audit and Risk committees.

         27.   Defendant David Viniar (“Viniar”) has served as a Director at Goldman since

2013. He also is a member of the Risk Committee. He also served as Executive Vice President of

Goldman and Chief Financial Officer from May 1999 - January 2013, and Head of Operations,

Technology, Finance and Services Division from December 2002 - January 2013. Viniar was

also Head of the Finance Division and Co-head of Credit Risk Management and Advisory and

Firmwide Risk from December 2001 - December 2002 and Co-head of Operations, Finance and

Resources from March 1999 - December 2001. From 2013 through 2017, Viniar was awarded

more than $2.8 million in fees, stock awards, and other compensation for his service on the

Board.




                                                9
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 14 of 101




       28.     Defendant Mark Winkelman (“Winkelman”) has served as a Director at Goldman

since 2014. He also is the Chair of the Risk Committee and is a member of the Audit and

Governance Committees. From 2014 through 2017, Winkelman was awarded more than $1.7

million in fees, stock awards, and other compensation for his service on the Board.

       29.     Defendants Blankfein, Solomon, Burns, Flaherty, George, Johnson, Kullman,

Mittal, Ogunlesi, Oppenheimer, Viniar, Winkelman, Tighe, and Faust are collectively referred to

herein as the “Individual Defendants.”

       30.     Defendants Solomon, Burns, Faust, Flaherty, George, Johnson, Kullman, Mittal,

Ogunlesi, Oppenheimer, Tighe, Viniar, and Winkelman are collectively referred to herein as the

“Director Defendants.”

IV.    THE 1MDB SCANDAL

       A.      Background of Goldman: The “Vampire Squid”

       31.     Goldman is a leading global investment banking, securities and investment

management firm that provides a wide range of financial services to a substantial and diversified

client base that includes corporations, financial institutions, governments and individuals.

According Goldman’s 2017 Annual Report, Goldman’s total net revenues in 2017 exceeded $32

billion, which the Financial Times recently noted makes Goldman the second largest investment

bank in the world.

       32.     Goldman is divided into four main business segments: Investment Banking,

Institutional Client Services, Investing & Lending and Investment Management. Relevant here,

Goldman’s Investment Banking segment serves public and private sector clients around the

world, providing financial advisory services and helping governments and companies raise

capital, including through bond offerings.



                                               10
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 15 of 101




       33.    In addition to being one of the world’s largest financial institutions, Goldman is

also one of the most controversial. In 2009 the Company was infamously described as a “great

vampire squid” for its role in various aspects of the 2008 financial crisis. One year later, in

2010, Goldman was forced to pay a record $550 million fine to the SEC to settle the infamous

“Abacus” affair, in which it structured a born-to-lose mortgage investment product that The Wall

Street Journal described as “one of the worst-performing mortgage deals of the housing crisis.”

       B.     Goldman Plays a Pivotal Role in the Formation of 1MDB

       34.    According to data compiled by Bloomberg, since 2011 Goldman worked on

approximately $18.8 billion of Malaysian mergers and acquisitions, making it the top foreign

adviser in that country with a 20.5% market share. Goldman’s business in Malaysia included

raising funds for Malaysian municipality Terengganu through the formation of the Terengganu

Investment Authority (“TIA”) in 2009. Later that year, the Malaysian Ministry of Finance

assumed control of TIA and, in September 2009, changed its name to 1Malaysia Development

Berhad., or 1MDB, expanding its focus from a regional to a national scope. A sovereign wealth

fund, 1MDB’s stated purpose was to pursue investment and development projects for the

economic benefit of Malaysia and its people, primarily relying on debt to fund the investments.

       35.    From the very outset of its work with 1MDB, Goldman employees, including

former Southeast Asia Chairman Tim Leissner and former managing director Roger Ng, worked

closely with Malaysian financier Jho Low.       Low served as the key intermediary between

Goldman and 1MDB, paying off officials to help Goldman win 1MDB’s business. Low has

been described as the “Asian Great Gatsby,” traveling the planet, dating supermodels and

socialites, and spending up to $500,000 on extravagant parties in Las Vegas and London

featuring private performances by Lady Gaga and Dr. Dre. Low’s close relationship with former

Malaysian Prime Minister Najib Razak was crucial to the scheme.
                                               11
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 16 of 101




       36.     In February 2009, TIA raised approximately $1.4 billion. Low worked as a

consultant with Leissner and Ng to complete this deal. From the beginning, Low’s involvement

should have raised red flags to Goldman. Indeed, in a March 31, 2009 email to a Goldman

employee and TIA’s Executive Director of Business Development, Low himself identified

significant issues relating to TIA’s transparency, writing:

       Bro, here is outline of the issues I would like to discuss with the Terengganu
       Investment Authority. In essence the disquiet surrounding the plan is that the
       fund will operate entirely on borrowed money, which is largely anathema
       because it puts taxpayer’s money at risk. Could they elaborate on this concern?

       There is also the issue of transparency and will the money go towards portfolio
       investments or be used to buy strategic stakes in companies.? [sic]

       C.      Goldman Refuses to Do Business with Low on Multiple Occasions, Citing
               “Significant Adverse Information and Questionable Sources of Wealth”

       37.     In September 2009, Ng referred Low for a private wealth management account

with Goldman’s private bank in Switzerland. In an email copying Leissner, Ng told a private

banker at Goldman’s Swiss office that Low was “currently our partner in a lot of transactions in

[M]alaysia. Largely the mid-east and [M]alaysia rationship [sic].” As part of the “onboarding”

process, Goldman’s compliance personnel reviewed Low’s finances and raised questions about

the lack of information regarding the sources of his wealth. Throughout this process, Leissner

and Ng were consulted about Low’s application and supported it.         Ultimately, Goldman’s

Compliance Group refused to approve Low’s application based, in part, on unresolved questions

concerning the source of his wealth and negative news coverage of his lavish spending.

       38.     By November 2009, news of Low’s exploits and questions regarding the source of

his wealth were being openly circulated within Goldman. On November 9, one Goldman banker

emailed a New York Post article to Leissner and Ng, which noted Low’s extravagant spending at

New York city clubs and stated that “when The Post interviewed Malaysian experts at such think


                                                 12
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 17 of 101




tank [sic] as the Council on Foreign Relations, no one had ever heard of [Low] . . . Speculation is

brewing over where [Low] is getting his money from.” Nevertheless, on November 22, 2009,

Goldman CEO Lloyd Blankfein met personally with Low and Prime Minister Najib at the Four

Seasons in New York. The meeting, set up by Leissner and Ng, was ostensibly to discuss

potential deals between Goldman and 1MDB. Indeed, in an email sent to Leissner, Ng, and

others that day, Low set out an agenda for the meeting, which included a “debrief” with

Malaysian officials, including Prime Minister Najib, and the “1mdb boys” to take place after

Goldman executives left.

       39.     Goldman employees continued to work with Low, hopeful that his connections to

Prime Minister Najib would result in business for the Company. In an April 7, 2010 email, Low

asked Ng for help to secure the appearance of an American politician at an event honoring the

charitable work of the Prime Minister’s wife. Ng forwarded this email to Leissner, who in turn

forwarded it to other high-ranking executives of Goldman. These efforts resulted in former

Secretary of State Lawrence Eagleburger presenting the Prime Minister’s wife with the

International Peace and Harmony Award nine days later. The Prime Minister, through Low,

later solicited a “donation” of over $300,000 to that charitable organization through Goldman’s

charitable giving program.

       40.     Beginning in January 2011, Leissner engaged with Low again on a deal known as

Project Gold, in which a private equity firm controlled by Low sought to acquire the assets of a

private gold mining company in Kazakhstan.           Goldman’s Intelligence Group reviewed the

entities and persons involved in the transaction and, upon learning that Low controlled the

private equity firm, the Group emailed Leissner expressing its concern over Low’s control.

Following this response, the Project Gold deal team informed the Intelligence Group that



                                                13
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 18 of 101




Goldman would instead advise a different private equity firm on the transaction. Notably,

however, the second firm was still controlled by Low. Upon learning of this fact, the head of

Goldman’s Intelligence Group in Asia described the new arrangement as “even more

problematic.”

       41.      Shortly thereafter, in March 2011, Leissner again referred Low for another private

wealth management account at Goldman – this time, with the Company’s Singapore office.

Goldman initiated a “high priority” background check on Low, who was again denied. In

connection with this second attempt, a compliance employee wrote, in reference to Low, that

“we have pretty much zero appetite for a relationship with this individual.” Another compliance

employee further explained to a Goldman private banker that Low “was reviewed by both my

EMEA [Europe, Middle East, and Africa] counterpart and [the Intelligence Group] team, and it

was concluded that no business will be allowed due to significant adverse information and

questionable source of wealth. Please be informed that we do not recommend onboarding this

client in PWM Singapore.”

       D.       Goldman Turns a Blind Eye to Low’s Involvement in the 1MDB Bond
                Offerings

       42.      Between 2009 and 2011, Low assisted in the misappropriation of more than $1

billion from 1MDB. The looting would continue in 2012 and 2013, when 1MDB hired Goldman

to conduct three giant bond offerings totaling $6.5 billion. These bonds offerings were so

suspicious on their face that serious alarm bells should have been ringing at Goldman. But

Goldman’s internal controls completely missed these signals, and the 1MDB bond offerings

would be looted to the tune of $4.5 billion. And when the dubious nature of these deals were

exposed in highly regarded financial publications like the Financial Times, Goldman again

ignored the red flags and allowed the fraudulent schemes to continue.


                                                14
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 19 of 101




               1.     Project Magnolia: Defendants Ignore a Series of Blatant Red Flags in
                      a Rush to Siphon Fees From Asia’s Largest Bond Issuance

       43.     On March 19, 2012, 1MDB engaged Goldman through its Singapore office – the

same office that had rejected Low as a private wealth management client – as the “sole

bookrunner and arranger” for debt financing in connection with 1MDB’s anticipated acquisition

of Malaysian power production company Tanjong Energy. Within Goldman, this bond deal was

referred to by the name Project Magnolia.

       44.     On its face, the bond offering, touted as “Asia’s biggest sole-led dollar-bond sale

ex-Japan,” was suspect for a number of reasons. First, the $1.75 billion 10-year bond was

essentially a private placement. Goldman structured the deal such that Goldman itself bought the

entire issue, which it would then quickly sell to investors it had already lined up in South Korea,

China, and the Philippines. In addition to causing Goldman to take on all of the risk of the $1.75

billion deal, this structure was suspicious because it would result in an immediate payday for

1MDB, Low, and the fund’s corrupt officials.

       45.     Second, the bond issuance was expensive and mispriced. The bond priced at 425

basis points over 10-year Treasuries, at a yield just short of 6%. But comparable oil and energy

sector bonds in Asia at that time carried a spread of 215 basis points over 10-year Treasuries.

Thus, Malaysia would have to pay over 2% more on these bonds as compared to similar debt.

       46.     Third, Goldman received an abnormally high fee for underwriting the 1MDB

bond offering. 1MDB agreed to pay Goldman: (a) a fee of 1% of the principal amount of the

notes, or $17.5 million, as an “arranger fee,” and (b) $175 million as a “commission,” for a total

of approximately $192.5 million. These fees amount to roughly 11% of the principal amount of

the offering and were to be deducted directly from the subscription proceeds of the bonds. By

comparison, underwriting a typical Malaysian investment-grade bond deal typically results in a


                                                15
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 20 of 101




fee of half a percentage point, with a fee of one percentage point for high-yield debt, and mere

basis points for government debt.8

       47.     Fourth, the fact that the bond offering was privately placed ensured that the deal’s

pricing and fees remained concealed from the public. Indeed, one Goldman employee was told

to keep all correspondence about the bond off of email, because if word got out that Goldman

already had investors lined up in South Korea, China, and the Philippines, its profits would not

appear to be justified.9 Had the deal been canvassed to a broad base of investors in a public

offering, syndicate bankers would find the optimum price point at which the deal could be

successfully placed, while secondary trading would lower an issuer’s implied cost of funding.

Public offerings also provide access to a broad investor base which can be called upon in the

future to provide funds.

       48.     Fifth, 1MDB obtained a guarantee on the debt from Abu Dhabi government

investment fund IPIC, which enabled the bond to receive a rating of Aa3 from Moody’s. IPIC

typically invests in multi-billion dollar acquisitions and stakes in global companies, and

observers at the time wondered why IPIC would be interested in the fee from guaranteeing

another sovereign wealth fund, which is typically modest. As detailed below, the upside to IPIC

was the massive bribes Leissner, Ng, and Low directed to IPIC officials.

       49.     Fifth, though competition for Asian bond-underwriting is highly competitive,

Goldman won the business on a no-bid basis.

       50.     Sixth, within Goldman, several senior bankers spoke out against Project

Magnolia.    David Ryan, President of Goldman in Asia, had visited with 1MDB’s staff in


8
  Bloomberg, “Rogue Bankers Don’t Explain Goldman’s 1MDB Mess,” (Dec. 21, 2018),
available at https://www.washingtonpost.com/business/rogue-bankers-dont-explain-goldmans-
1mdb-mess/2018/12/21/514b593e-050e-11e9-958c-0a601226ff6b_story.html.
9
  Wright, Tom; Hope, Bradley. Billion Dollar Whale (p. 186). Hachette Books. Kindle Edition.
                                                16
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 21 of 101




Malaysia and came away with concerns over 1MDB’s plans to take on so much debt and the

inexperience of its management, who had not previously overseen multi-billion-dollar

investments.10 Ryan also considered Goldman’s fee from the transaction to be excessive.

       51.        Alex Turnbull, a Singapore-based Vice President in Goldman’s special situations

unit and whose father, Malcolm Turnbull, would later become Australia’s prime minister, also

raised concerns internally. Notably, Turnbull was not even involved in the deal, but his

knowledge of how bond markets worked cause him to email colleagues expressing disbelief

about Goldman’s profits. Turnbull recalled:

       When the 1MDB deal was done with Goldman I sent an email to some of my
       colleagues saying, ‘What the f--k is going on with this? The pricing is nuts, what
       is the use of the funds?’ . . . And I got a talking-to by compliance.11

       52.        The email led to a reprimand from Goldman’s compliance department, resulting

in Turnbull’s boss chiding him to remain quiet if he wanted a promotion.12 Turnbull later

recounted that:

       My comments were a penetrating glimpse of the obvious and the concerns I
       expressed were widely shared by the market participants at the time . . . . I called
       out the insane pricing and bizarre structure at GS when the deal was done and got
       yelled at by compliance for casting doubt on the integrity of PFI, the group that
       did the deal . . . . As a result, I was ‘B-tracked’ and resigned.13

       53.        These criticisms were strikingly prescient, as the explanation for Goldman’s

engagement on the largest sole-led bond deal in Asia (excluding Japan) is simple: it engaged in a

historically massive bribery scheme. Leissner, Ng, and Low funneled millions of dollars to

10
   58. Wright, Tom; Hope, Bradley. Billion Dollar Whale (p. 183). Hachette Books. Kindle
Edition.
11
   Financial Times, “Australia PM’s son says Goldman sidelined him after 1MDB warnings”
(March 8, 2018), available at https://www.ft.com/content/cb0fbf5c-2284-11e8-9a70-
08f715791301.
12
   Id.
13
   Financial Review, “Alex Turnbull’s 1MDB complaints about Goldman Sachs look prescient”
(July 11, 2018), available at https://www.afr.com/markets/market-data/world-markets/alex-
turnbulls-1mdb-complaints-about-goldman-sachs-look-prescient-20180710-h12gxa.
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          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 22 of 101




Prime Minister Najib, the chairman of 1MDB’s board of advisors, and Najib’s relatives and

associates. Nearly $577 million – a sum equivalent to more than one-third of the net proceeds of

the Project Magnolia bond offering – was diverted to a shell company (Aabar-BVI) immediately

after 1MDB received the proceeds of the bond offering. That shell company distributed the funds

to officials of IPIC, 1MDB and others. As just one example of the misappropriation of these

funds, one official, Riza Shahriz Bin Abdul Aziz, a relative of Prime Minister Najib and a friend

of Low, purchased luxury real estate in the United States and the United Kingdom, and funded

his movie production company, Red Granite Pictures, which was a producer of the 2013 movie

The Wolf of Wall Street.

         54.     Seventh, Low was inextricably intertwined with 1MDB and the bond offering.

Emails – a simple search of which would have immediately revealed his involvement – obtained

from Goldman pursuant to valid search warrants revealed that, during the course of Project

Magnolia, Leissner and Ng met with Low on several occasions. By early March 2012, Goldman

had initiated a compliance review of Project Magnolia, which was conducted, in part, by

Goldman’s Intelligence Group. As part of that review, on March 27, 2012, one Goldman

executive acknowledged in an email that Low was a “1MDB Operator or intermediary in

Malaysia.”14 The compliance review included a firm-wide meeting of the Capital and Suitability

Committee regarding Project Magnolia on April 4, 2012.           During this meeting, Leissner

informed the Global Co-Head of the Intelligence Group that Low was present for the March 5

meeting in Abu Dhabi with IPIC, which would guarantee the bond. The Intelligence Group

failed to investigate the conduct of Leissner, Ng, or Low any further, instead simply concluding




14
     Wright, Tom; Hope, Bradley. Billion Dollar Whale (p. 182). Hachette Books. Kindle Edition.
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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 23 of 101




that Goldman “should ask that any payments from any of participants to any intermediaries are

declared and transparent.”

       55.    By early April, individuals at Goldman outside of the Intelligence Group became

aware of Low’s involvement with Project Magnolia. In an email dated April 3, 2012, a Goldman

employee noted “that Jho Low is also known to have close friends/contacts in Abu Dhabi.” Later

that day, another Goldman employee wrote in response that “[a Goldman Managing Director]

said Jho Low [was] not involved at all in deal as far as he aware [sic] but that Low was present

when [Leissner] met . . . [the] Chairman of IPIC, in Abu Dhabi.” Despite a compliance review

and these raised suspicions, later that month Leissner again met Low and several other

Singaporean bankers over lunch in Singapore to discuss aspects of Project Magnolia.

       56.    Project Magnolia closed on May 21, 2012.           Notably, Leissner had asked

investment bank Lazard Ltd. for an independent valuation of the Tanjong Energy power plants

before the deal closed. According to The Wall Street Journal:

       Lazard declined, saying it believed 1MDB was overpaying and that the deal
       smacked of political corruption. Goldman stepped in and said the plants were
       worth what 1MDB was paying. 1MDB soon wrote down the power plants by
       $400 million, and the owner of the plants donated $170 million to 1MDB’s
       charity arm, which Prime Minister Najib Razak used as a political slush fund.15

       57.    The Wall Street Journal later reported that the deal earned Goldman’s highest

internal prize, the Michael P. Mortara Award. The selection committee for the prize

congratulated bankers in four Goldman divisions for “solving an important client’s problem

through outstanding firmwide cooperation.”16




15
   The Wall Street Journal, “Goldman Sachs ignored 1MDB Warning Signs in Pursuit of Asian
Business,” Tom Wright and Liz Hoffman, (Dec. 17, 2018).
16
   Id.
                                               19
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 24 of 101




       58.     On June 2, 2012, shortly after Goldman’s work on the first of the 1MDB bond

offerings was finished (and as detailed below, while Goldman’s work on the second 1MDB

bond deal was ongoing), Thomson Reuters’ International Financing Review proclaimed that the

“putative tentacles” of Goldman’s infamous “vampire squid wrapped around the face of

humanity” were “rather extensively and firmly engaged” in the Malaysian government.17 The

article noted that other banks “have been cheesed off by the cosy [sic] relationship Goldman

enjoys with the Malaysian government, and the “metamorphosis” of 1MDB from a sovereign

wealth fund into “what appears to be a fee-printing machine.”

       59.     The article further criticized the shady, private structure of the deal, including the

IPIC guarantee, and noting that “[a] public deal would also have meant more clarity on pricing

and fees.” Indeed, the article pointed out that the deal was unjustifiably priced over 215 basis

points higher – almost double – than it should have been. The secretive nature of the deal was

especially troubling because, as the article noted, at the time “[i]t was the biggest sole-led bond

deal ever printed in ex-Japan Asia.”

       60.     A month later, on July 2, 2012, the Financial Times published a story describing

the issue as “one puzzle wrapped up in another” and questioning several aspects of the deal.18

The article recounted how Goldman’s rivals “berat[ed]” Goldman “for selling 1MDB an

expensive, overly-complex structure,” noting that the deal would allow Goldman to “soar up the

league tables.”19 Noting the bond’s unusual pricing, the article stated:



17
   International Financing Review, “Goldman ruffling feathers in Asian debt,” (June 2, 2012),
available at http://www.ifre.com/goldman-ruffling-feathers-in-asian-debt/21021716.fullarticle.
18
   Financial Times, “1MDB of Malaysia’s $1.75bn bond: one puzzle wrapped up in another”
(July 2, 2012), available at https://www.ft.com/content/6c879300-465c-3a2b-ab04-
a35e1d2e831e.
19
   League tables are rankings of banks based on their deal volumes, which are closely followed
and touted by banks, as those that do the most business tend to be more sought after by clients.
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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 25 of 101




       According to Reuters’ IFR calculations at the time, the bond priced at 425 basis
       points over 10-year Treasuries, at a yield just short of 6 per cent. Yet Malaysian
       oil company Petronas, in a similar business and with a higher rating, was trading
       at just 185 basis points over comparable Treasuries.

       61.     “Yet,” the Financial Times noted, “the pricing of the deal is not its biggest

mystery,” which was IPIC’s involvement in the deal:

       Bankers are wondering why an Abu Dhabi government investment fund would
       guarantee what is essentially Malaysian sovereign debt. After all, 1MDB has
       secured a Malaysian state guarantee in the past. Why is a Gulf emirate, many
       miles away, guaranteeing this bond?

       62.     Despite some of the most respected financial publications in the world noting

these significant red flags in connection with Goldman’s underwriting of the first 1MDB bond

offering, the Board did nothing. Any Board acting in good faith should have responded to this

red flag by immediately launching an investigation to determine if the Project Magnolia bond

offerings were tainted by corruption or bribery. Indeed, even a rudimentary investigation would

have included a search of Leissner’s emails, which would have revealed not only Low’s

participation in the deal, but also the illicit bribery and money laundering scheme perpetuated by

Leissner and Ng. In fact, as noted above, Low was already on Goldman’s radar. Goldman’s

private wealth management had already rejected Low twice as a private wealth management

client, citing “significant adverse information and questionable sources of wealth.”         Had

Goldman investigated the deal and connected the dots, the scheme would have easily been

uncovered. But the Board did nothing, exposing Goldman to massive liability from these

obviously suspicious bond offerings.

               2.     Goldman Again Turns a Blind Eye to Corruption, Illegal Activity,
                      and Low’s Involvement in Project Maximus

       63.     On May 21, 2012, before the ink was even dry on the Project Magnolia deal,

Leisner informed a colleague at Goldman that 1MDB had retained Goldman as an advisor on a


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          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 26 of 101




second bond deal with 1MDB. Known internally as Project Maximus, the bond offering was

designed to raise approximately $1.75 billion for lMDB and resulted in substantial revenues and

other fees for Goldman.

         64.     As with Project Magnolia, Leissner and Low communicated regularly throughout

the deal, a fact to which Goldman compliance personnel turned a blind eye. On June 15, 2012,

Low sent Leissner and several 1MDB officials an email with the subject line “Financial Plan –

Key Points to Adhere to for [Goldman],” that laid out a multi-year plan for lMDB business

including plans to “acquire more Energy companies in Malaysia.” Low wrote, “PLEASE HAVE

[GOLDMAN] STATE THE FOLLOWING AND FOLLOW THE FOLLOWINGS [sic] IN

FINANCIAL GUIDELINES.” Three days later, on June 18, a member of the deal team at

Goldman sent a high-ranking official at lMDB an email that included a presentation from

Goldman for lMDB’s Board of Directors containing many of the points outlined by Low.

         65.     As with Project Magnolia, senior Goldman executives also spoke out against

Project Maximus, but were ignored or silenced. David Ryan argued that Goldman should lower

its fee on the second bond, given how easy it had been to sell the first bond. He was overruled,

however, by senior executives, including then-Chief Operating Officer and President Gary Cohn.

After speaking out Ryan was effectively sidelined on Project Maximus, despite being the

President of Goldman’s Asian operations. Instead, Goldman brought in a banker named Mark

Schwartz, as Chairman in Asia. Schwartz, whose position was senior to that of Ryan’s, was a

proponent of the 1MDB business.20 According to The Wall Street Journal, Ryan, who had been




20
     Wright, Tom; Hope, Bradley. Billion Dollar Whale (p. 189). Hachette Books. Kindle Edition.
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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 27 of 101




considered a “rising star” at Goldman, left the Company the next year.21 Bloomberg reported that

Ryan, who had argued that Goldman should reassess, and potentially end, its relationship with

the fund, left Goldman in part due to frustration that his concerns about 1MDB were not

heeded.22

       66.     Goldman instituted a compliance review of Project Maximus at an October 10,

2012 firmwide Capital Committee meeting – just two months after the July 2012 Financial

Times article that pointed out multiple red flags in relation to Goldman’s underwriting of the first

1MDB offering.       Despite the Capital Committee’s cursory scrutiny, Leissner continued

communicating with Low about 1MDB business during this time – including an October 5 email

sent to Leissner entitled “Presentation for Executive Council.” Leissner responded that he would

have added that one of the benefits of the way the deal was structured was that it “allows for a

greater degree of confidentiality as the bonds and the guarantee are separated.”

       67.     Project Maximus closed on or about October 17, 2012. As with Project Magnolia,

Goldman purchased the entire issuance, which it then resold to investors. Goldman’s fee for this

second 1MDB bond deal was $114 million. For his role in bringing in the business, Leissner

was paid more than $10 million in salary and bonuses in 2012, making him one of Goldman’s

top-paid employees that year.

       68.     The issuance raised approximately $1.75 billion for lMDB’s energy company

acquisition and “for general corporate purposes (which may include future acquisitions).” In

truth, however, $790,354,855 – a sum equivalent to roughly half of the net proceeds of the


21
   The Wall Street Journal, “Goldman Sachs Ties to Scandal-Plagued 1MDB Run Deep,” (Dec.
22, 2016), available at https://www.wsj.com/articles/goldman-sachs-ties-to-scandal-plagued-
1mdb-run-deep-1482362362.
22
   Bloomberg, “Gary Cohn Backed Goldman Sachs’s 1MDB Dealings, Book Says” (Sep. 13,
2018), available at https://www.bloomberg.com/news/articles/2018-09-13/gary-cohn-backed-
goldman-sachs-s-dealings-with-1mdb-book-says.
                                                23
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 28 of 101




Project Maximus bond offering – was again diverted to a shell company on the same day that

1MDB received the proceeds of this bond sale. This time, Low used a portion of the siphoned

funds to, among other things, purchase jewelry, pay off credit card bills, pay expenses related to

a private jet, and transfer money to family members. Leissner directed that nearly $3 million be

transferred from holding company accounts to accounts beneficially owned by 1MDB officials.

               3.     Goldman Again Disregards Illegal Activity, Corruption, and Low’s
                      Involvement in Project Catalyze

       69.     In November 2012, soon after Project Maximus closed, Leissner and Low began

working on the next 1MDB bond deal, a proposed $3 billion issuance known as Project Catalyze.

On January 15, 2013, Goldman was engaged on the project, again on a no-bid basis. Goldman’s

Asia President David Ryan was suspicious when he heard how Goldman won the business, but

he was again overruled by Asia Chairman Mark Schwartz and COO Gary Cohn. Just two days

after Goldman won the business, Leissner transferred $1 million each to two accounts

beneficially owned by 1MDB officials.

       70.     In January 2013, Goldman’s Intelligence Group began conducting a compliance

review on Project Catalyze. After making a series of perfunctory inquiries, Project Catalyze was

approved on March 13, 2013, over the concerns of one of Goldman’s own lawyers on the deal.

As with Project Magnolia and Project Maximus, Goldman suspiciously structured the bond such

that it would purchase the entire issuance and resell it to clients it had lined up. 1MDB officials

wanted to deposit the $3 billion worth of immediate proceeds resulting from this structure into a

bank account at the small Swiss private bank BSI, which had just expanded into Asia in 2011.

Kevin Wong, a Singapore-based partner of Linklaters and one of Goldman’s lawyers on the deal,

pointed out in an email that it was unusual to use such a small private bank for a $3 billion

deposit, but his concerns were ignored.


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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 29 of 101




       71.     Project Catalyze closed on March 19. For its work, Goldman earned just short of

$300 million. In a press release issued on April 23, 2013, 1MDB indicated that, “[t]he proceeds

from the US $3 billion capital raised will be utilised for investments in strategic and important

high-impact projects like energy and strategic real estate which are vital to the long term-

economic [sic] growth of both countries.” The press release gave, as an example of a future

investment project, the Tun Razak Exchange (TRX). The Tun Razak Exchange is a project to

develop a financial center in downtown Kuala Lumpur that has yet to be completed. Wong’s

concerns, however, were alarmingly prescient. Days after the $3 billion in proceeds were

deposited at BSI, more than $1.26 billion was diverted to unrelated overseas shell company

accounts, including two accounts at Falcon Bank in Singapore.           In addition, among other

transfers: (i) on July 3, 2013, $65 million traceable to Project Catalyze was ultimately transferred

to an account controlled by Leissner; (ii) on July 19, 2013, Leissner transferred approximately $6

million to an account in the name of a management company that he controlled; and (iii) on

September 10, 2013, approximately $27.3 million traceable to Project Catalyze was transferred

to a New York jeweler to purchase a 22 carat pink diamond for the Prime Minister’s wife.

       72.     Despite the Intelligence Group turning a blind eye to Leissner’s illicit payments

and Low’s involvement in the deal, public reports began circulating regarding Low’s role. A

member of Goldman’s Capital Committee emailed Leissner on April 24, 2013 asking about these

reports linking Low to 1MDB. Leissner replied that Low “was an advisor alongside other

prominent figures to the King of Malaysia at the time of the creation of lMDB.” Notably,

despite this statement and Leissner’s earlier April 4, 2012 statement to the Global Co-Head of

the Intelligence Group that Low was present for a March 5, 2012 meeting in Abu Dhabi with

IPIC, no one followed up on Low’s involvement in the bond deals.



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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 30 of 101




       73.     On September 25, 2013, Leissner and Low met again with Blankfein and others

at the Time Warner Center in New York to discuss business opportunities for Goldman in

Malaysia, including with 1MDB. Then, in 2014, 1MDB began planning for an IPO of the power

assets owned by its subsidiary 1MDB Energy Holdings Limited (“1MEHL”) on the Malaysian

stock exchange. 1MEHL was the holding company for 1MDB Energy and 1MDB Energy, the

entities that had acquired the Tanjong and Genting power assets, respectively, through issuance

of the 2012 bond notes. 1MDB retained Goldman to serve in an advisory capacity, but only after

a June 2014 online chat between Low and Leissner, during which the two discussed the need to

“suck up to” a 1MDB official and to send “cakes” to the wife of a politician. Several months

after this chat, a bank account owned and controlled by Leissner and his relative was used to

transfer approximately $4.1 million to a high-end New York jeweler, in part, to pay for gold

jewelry for the politician’s wife.

       74.     In all, Goldman ultimately reaped approximately $600 million in fees relating to

the nearly $6.5 billion of 1MDB bond issuances. Most notably, the sheer amount of the fees that

Goldman received in connection with the 1MDB bond offerings was a red flag that should have

raised suspicions at the Board level. These abnormally high fees amounted to up to 11% for

underwriting the bonds, which were especially high compared with half a percentage point for

underwriting a typical Malaysian investment-grade bond deal, one percentage point for high-

yield debt, and mere basis points for government debt.23 The amount Goldman earned from

1MDB alone is nearly equivalent to the $694 million in revenue from its entire global bond

underwriting business in the first quarter of 2013.



23
   Bloomberg, “Rogue Bankers Don’t Explain Goldman’s 1MDB Mess,” (Dec. 21, 2018),
available at https://www.washingtonpost.com/business/rogue-bankers-dont-explain-goldmans-
1mdb-mess/2018/12/21/514b593e-050e-11e9-958c-0a601226ff6b_story.html.
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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 31 of 101




       E.      “Too Many Red Flags”: The Board Disregards Multiple, Significant Red
               Flags Arising From Goldman’s Involvement in the 1MDB Deals

       75.     That Goldman received the lucrative 1MDB business at such high fee rates in the

highly competitive Asian bond underwriting market should have raised red flags as to whether

Goldman obtained the business through bribery or other malfeasance. In fact, when banks

underwrite bonds in some Asian countries, those banks routinely complain of zero fees on

government bond and stock sales. According to The Wall Street Journal, “[b]anks that agree to

arrange bond offerings for ultralow fees are generally hoping to build relationships with

corporate clients for future deals. They are also hoping to generate revenue from related

businesses, such as fees for setting up foreign-currency swaps or on bond-trading

commissions.”24

       76.     Indeed, less than two months after Project Catalyze closed, the Financial Times

again noted significant red flags with respect to Goldman’s involvement in that offering,

observing that “Goldman Sachs is facing sharp criticism over its potential profits for arranging a

$3bn bond deal for a Malaysian government fund . . . .”25 The article quoted Malaysian

politician Wong Chen, who said, “[s]omeone must have made a big pile. That margin should

rightfully belong the Malaysian government. . . . We will fight to recoup that margin if we come

to power.”

       77.     In addition to Goldman’s outsized share of the proceeds, the article noted several

abnormalities with respect to Project Catalyze. First, in a large government-related deal, it was

highly unusual for the use of the bond offering’s proceeds not be specified in greater detail. The


24
   The Wall Street Journal, “The New Floor for Bond Underwriting Fees: $1,” (Jan. 3, 2018),
available       at     https://www.wsj.com/articles/the-new-floor-for-bond-underwriting-fees-1-
1514973603.
25
   Financial Times, “Goldman Sachs criticised over $3bn Malaysia bond deal,” (May 1, 2013),
available at https://www.ft.com/content/ed31cbde-b222-11e2-8540-00144feabdc0.
                                               27
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 32 of 101




article noted that the general consensus among other bankers was “in a government-related deal

of this size, it is highly unusual for the use of proceeds not to be spelt out in more detail.”

Second, the article noted that the bond was unusually and hurriedly structured: “[i]n a sign of the

hurried nature of the deal, Goldman bought the bonds first, then asked Standard & Poor’s to

provide a rating.” Third, it was unusual for unrated bonds to gain a credit rating after they were

sold. The article noted that one person at a rating agency “could not think of a single similar

example in the case of government-linked bonds.”

       78.     In a follow-up article the next day, the Financial Times again noted the “sharp

criticism” that Goldman was facing as a result of the deal.26 The article explained that Goldman

bought the still-unrated bonds at just 90 cents on the dollar, while at the same time noting the

unfavorable yield which was “a full 1 percentage point more than Malaysian sovereign bonds in

the market.”

       79.     That same day, Bloomberg further called into question the deal’s transparency,

quoting a Malaysian corporate lawyer and parliamentary candidate who explained that “[t]he

private placement raised too many red flags, coming so close to the election date. . . . They

were rushing this out and they don’t know how to spend it. We don’t know who received this

private placement and who they may sell it on to.”27 Bloomberg also put Goldman’s excessive

fees into context, noting that in January of that year, Korea Development Bank (which was

higher rated than 1MDB) paid just 0.3% for a $500 million debt sale, compared to the 3.1% that

constituted Goldman’s fees at the time, for a much larger sale. One day later, on May 3, 2013,

Bloomberg reported that a group of candidates from a Malaysian political party were considering


26
   Financial Times, “Goldman in Malaysia: know your client,” (May 2, 2013), available at
https://www.ft.com/content/389759ad-41d0-3416-9439-0df463757cdf.
27
   Bloomberg, “Goldman-Arranged Bond Sale Stings Najib Before Malaysia Election” (May 2,
2013).
                                                28
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 33 of 101




renegotiating terms of $3 billion worth of 1MDB-related bonds if they were elected.28 The

article quoted another Malaysian politician as stating that “[t]he 1MDB transaction has been

shrouded in secrecy. We would go back to the renegotiation table and see what would have been

a fairer deal should there be any questionable part of the deal mix.”

       80.     One week later, on May 9, 2013, Bloomberg published an article29 which again

questioned Goldman’s suspiciously high fees. The article noted:

       Goldman Sachs Group Inc. made about $500 million arranging three bond sales in
       the past year for 1Malaysia Development Bhd., the state investment fund led by
       Prime Minister Najib Razak, said a person familiar with the matter.

       The total is almost as much as Malaysia, Southeast Asia’s third-largest economy,
       pays each month on its debt and compares with Goldman’s record $694 million of
       global bond underwriting fees in the first quarter, according to data compiled by
       Bloomberg.

       81.     According to the article, Goldman’s fees from the 1MDB deals were significantly

higher when compared to past Malaysian deals with other underwriters:

       Malaysia has sold eight dollar bonds since the start of 1999, raising $7.1 billion,
       according to data compiled by Bloomberg. The last was in June 2011, when the
       government issued $2 billion.

       Citigroup, JPMorgan Chase & Co., CIMB Group Holdings Bhd. and HSBC are
       among the lead underwriters, managing 69 percent of the sales, Bloomberg data
       show. The banks charged an average 0.47 percent of the bond sales in fees for
       five deals between 1999 and 2002. The government didn’t disclose commissions
       for the rest of the deals.

       82.     The article noted that Goldman reported a 36% increase in investment banking

fees in the first quarter of 2013, including a 69% rise in fixed-income underwriting revenue,

while fees across the industry gained just 17%.


28
   Bloomberg, “Goldmans’ Malaysian Bond Fees Would Face Scrutiny in Poll Upset” (May 3,
2013).
29
   Bloomberg, “Goldman Said to Earn $500 Million Arranging Malaysia Bond,” (May 9, 2013),
available at https://www.bloomberg.com/news/articles/2013-05-08/goldman-said-to-earn-500-
million-arranging-malaysia-bond.
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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 34 of 101




       83.     The board’s inaction in the face of these glaring red flags was particularly

egregious because in 2013, the Federal Reserve required Goldman to implement “sweeping

changes” in order “to tighten its oversight of risk.”30 The Financial Times reported that the

“[n]otorious 1MDB deal was approved after meetings where recused bankers stayed in room,”

and that the reforms:

       [R]esulted from a wider questioning of controls, including concerns that
       committee minutes did not record debate in sufficient detail.

       All of Goldman’s company-wide and regional committees were affected by the
       reforms, which were introduced shortly after the bank financed the last of the
       1MDB bonds in March 2013, receiving a total of $600m in fees. They included
       its capital and client suitability committees, which oversaw the 1MDB
       financing, and approved all such deals.

       One person close to its Asia Pacific capital committee, which initially reviewed
       the first 1MDB deal in 2012, said that the Fed questioned why committees
       seemed to reject very few deals as being too risky or inappropriate.

       84.     The Federal Reserve’s scrutiny continued into 2014. The Wall Street Journal

reported that the Federal Reserve raised concerns with Goldman that the 1MDB deals could have

put the firm’s reputation at risk.31 The Journal elaborated that “[b]y early 2014, The Federal

Reserve, Goldman’s main U.S. regulator, was scrutinizing the bond deals, questioning the firm

on why 1MDB had continued to sell bonds despite holding ample cash, the people said. Fed

officials were also critical of Goldman’s vetting of the 1MDB deals, noting they had posed

reputational risk.”

       85.     Low’s involvement with Goldman did not end with the 1MDB bond offerings.

He continued to pop up in other deals in which Goldman had a role. The Wall Street Journal


30
   Financial Times “NY Fed told Goldman to improve risk reporting shortly after 1MDB” (Nov.
25, 2018), available at https://www.ft.com/content/bc59bc34-f0a0-11e8-ae55-df4bf40f9d0d.
31
   The Wall Street Journal, “Fed Warned Goldman on Malaysia Bond Deals” (April 6, 2016),
available     at     https://www.wsj.com/articles/fed-warned-goldman-on-malaysia-bond-deals-
1459974246.
                                             30
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 35 of 101




reported on Goldman’s response to Low’s presence in a 2013 deal that is currently being

investigated:

       “Jho Low’s appearance is not welcome,” one compliance officer wrote to a
       banker in 2013 when Mr. Low teamed up with a Goldman client to buy a
       Houston-based oil company. “But if he is in a very minor role…then we may be
       able to live with it.” That deal, a takeover of Coastal Energy brokered by
       Goldman, is being investigated by U.S. prosecutors.32

       86.      In addition – and significantly – Goldman also found itself in legal trouble arising

from its dealings with other sovereign wealth funds. In January 2014, the Libyan Investment

Authority (“LIA”) filed a $1 billion lawsuit against Goldman after LIA lost 98% of the $1.3

billion it invested with Goldman in 2007, while Goldman made $350 million in profit. It is

inconceivable that the Board would have been unaware of this significant legal lability. Court

documents revealed that, in order to win business from LIA, Goldman flew the younger brother

of LIA’s Deputy Chief to Dubai at its own expense, and then paid for his accommodations at the

Ritz Carlton and arranged for two prostitutes to spend the evening. Evidence also showed that

Goldman offered this individual an internship, in addition to the gifts such as lavish dinners and

personal electronics devices that Goldman plied other LIA executives with. When Goldman’s

relationship with LIA deteriorated, a close friend of Libya’s then-leader Muammar Qaddafi

threatened the lives of several Goldman bankers, and the Banks’ security team had to rush them

to an airport for a flight to London.

       87.      On June 18, 2015, The Wall Street Journal published an article entitled “Fund

Controversy Threatens Malaysia’s Leader,” detailing how 1MDB indirectly funded Najib’s 2013

election campaign. A probe into 1MDB subsequently followed. On July 2, 2015, The Wall Street

Journal published another article, entitled “Investigators Believe Money Flowed to Malaysian

32
  The Wall Street Journal, “Goldman Sachs ignored 1MDB Warning Signs in Pursuit of Asian
Business,” (Dec. 17, 2018), available at https://www.wsj.com/articles/goldman-sachs-ignored-
1mdb-warning-signs-in-pursuit-of-asian-business-11545088802.
                                                 31
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 36 of 101




Leader Najib’s Accounts Amid 1MDB Probe,” reporting how Malaysian investigators traced

nearly $700 million in deposits to what they believed to be Najib’s personal bank accounts.

Thereafter, in 2015 and 2016, IPIC Managing Director and Aabar Chairman Khadem al-Qubaisi

and Aabar CEO Mohamed al-Husseini, who partnered with 1MDB in the bond deals described

above, were dismissed and jailed for their roles in the 1MDB scandal.

       88.     Despite the presence of these significant red flags, the Board failed to conduct any

investigation into Goldman’s role in the 1MDB offerings. Had the Board performed even a

cursory investigation, it would have discovered the plain weaknesses in the Company’s internal

controls that allowed Leissner, Ng, and others to repeatedly engage in bribery, money

laundering, and other illicit conduct, to Goldman’s detriment.

       F.      The Truth About the 1MDB Corruption Comes to Light

       89.     On August 4, 2016, Goldman Sachs filed a Quarterly Report on Form 10-Q with

the SEC, announcing the Company’s financial and operating results for the quarter ended June

30, 2016 (the “Q2 2016 10-Q”). The Q2 2016 10-Q’s discussion of “Regulatory Investigations

and Reviews and Related Litigation” merely stated, in relevant part:

       [Goldman Sachs] and certain of its affiliates are subject to a number of other
       investigations and reviews by, and in some cases have received subpoenas and
       requests for documents and information from, various governmental and
       regulatory bodies and self-regulatory organizations and litigation and shareholder
       requests relating to various matters relating to the firm’s businesses and
       operations, including . . . [t]ransactions involving government-related financings
       and other matters, including those related to 1Malaysia Development Berhad
       (1MDB), a sovereign wealth fund in Malaysia, municipal securities, including
       wall-cross procedures and conflict of interest disclosure with respect to state and
       municipal clients, the trading and structuring of municipal derivative instruments
       in connection with municipal offerings, political contribution rules, municipal
       advisory services and the possible impact of credit default swap transactions on
       municipal issuers[.]

       90.     On November 1, 2018, U.S. federal prosecutors in the Eastern District of New

York unsealed indictments against Leissner, Ng, and Low related to the 1MDB probe, explicitly

                                                32
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 37 of 101




describing them as “agents acting within the scope of their employment on behalf of” the

Company. That same day, the United States Attorney’s Office for the E.D.N.Y. announced that

Leissner’s guilty plea was unsealed for a two-count criminal information charging Leissner with

conspiring to launder money and conspiring to violate the Foreign Corrupt Practices Act. The

U.S. Attorney’s Office also stated that, “[a]ccording to court filings, Leissner has been ordered to

forfeit $43,700,000 as a result of his crimes.”

       91.     The indictment of Ng and Low further alleged that Goldman’s system of internal

accounting controls could be easily circumvented and that the Company’s business culture,

particularly in Southeast Asia, at times prioritized consummation of deals ahead of the proper

operation of its compliance functions. In addition, an unnamed participating managing director

of the firm is alleged to have been aware of the bribery scheme and to have agreed not to

disclose this information to the firm’s compliance and control personnel. That employee, who is

widely believed to be Andrea Vella, has since been put on leave.

       92.     On November 8, 2018, Bloomberg reported on the personal involvement of

Goldman Sachs’s then-CEO, Lloyd Blankfein, in a meeting to establish ties with Malaysia and

its new sovereign wealth fund that was referenced in the court documents unsealed the prior

week. In a November 8, 2018 article entitled “Goldman’s Blankfein Said to Have Attended 2009

1MDB Meeting,” Bloomberg noted that “Blankfein was the unidentified high-ranking Goldman

Sachs executive referenced in U.S. court documents who attended a 2009 meeting with the

former Malaysian prime minister,” and that “[t]he meeting was arranged with the help of men

who are now tied to the subsequent plundering of the 1MDB fund[.]” On this news, Goldman

Sachs’s stock price fell by $9.00, or nearly 4%, closing at $222.65 on November 9, 2018.




                                                  33
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 38 of 101




       93.    Days later, on November 12, 2018, Malaysian government officials denounced

Goldman Sachs’s role in the 1MDB scandal.           New Malaysian Prime Minister Mahathir

Mohamad stated that “[t]here is evidence that Goldman Sachs has done things that are wrong”

and “[o]bviously we have been cheated through the compliance by Goldman Sachs people.”

Meanwhile, the country’s Finance Minister Lim Guan Eng said that Malaysia would seek a “full

refund” of the approximately $600 million in fees that the Company earned in connection with

1MDB’s $6.5 billion bond deal. On this news, Goldman Sachs’s stock price fell $16.60 per

share, or nearly 7.5%, to close at $206.05 on November 12, 2018.

       94.    On December 17, 2018, multiple news outlets reported that Malaysia had filed

criminal charges against Goldman Sachs and two former executives for their role in the 1MDB

fraud and money-laundering scandal. That same day, in response to these charges, Goldman

Sachs denied any wrongdoing through its spokesman Edward Naylor, who stated: “We believe

these charges are misdirected and we will vigorously defend them and look forward to the

opportunity to present our case.      The firm continues to cooperate with all authorities

investigating these matters.” Following this news, Goldman Sachs’s stock price fell $4.76 per

share, or 2.76%, to close at $168.01 on December 17, 2018.

       G.     The Massive Fallout From the 1MDB Scandal was Swift and Severe

              1.      Goldman’s Conduct Relating to 1MDB Has Spawned Multiple
                      Criminal, Civil, and Regulatory Actions

       95.    Fallout from the 1MDB scandal has resulted in multiple criminal and civil suits

and regulatory investigations. In a closed proceeding on August 28, 2018, Leissner pled guilty to

two counts of conspiracy to violate the Foreign Corrupt Practices Act and conspiracy to commit

money laundering. He is scheduled to be sentenced on June 28, 2019. He has further agreed to




                                               34
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 39 of 101




return $43.7 million, while also admitting that upwards of $200 million flowed from 1MDB to

accounts he or a relative controlled.

       96.     The United States has also unsealed an indictment of Ng and Low. Ng was

thereafter detained in Malaysia and has been denied bail. The United States is seeking Ng’s

extradition, and he has also since been charged in Malaysia in connection with the 1MDB

scandal. Separately, Ng and his family have agreed to surrender about $29 million to authorities

in Singapore, which would then repatriate the funds to Malaysia. Low is still at large and is

believed to be in hiding in China.

       97.     In November 2018, Goldman partner Andrea Vella was put on leave over his role

in the 1MDB deals. That same month, Bloomberg reported that Vella matched the description of

“Co-Conspirator #4” in the Leissner charging documents, fueling speculation as to whether Vella

and other Goldman employees would also be charged in connection with 1MDB.

       98.     On December 4, 2018, Goldman’s Chief Operating Officer John Waldron

confirmed to CNBC that Goldman was in “active conversations” with the Department of Justice.

The Financial Times reported that Department of Justice officials have “spoken to senior

executives at the bank, including [current CEO David] Solomon.”33 On the Company’s January

16, 2019 earnings call, Solomon reiterated that the Department of Justice investigation was still

“open,” and that Goldman was cooperating with both the DoJ and other unnamed “regulators.”

Indeed, in addition, the Federal Reserve, the SEC, and the New York State Department of

Financial Services are all moving forward with separate investigations of Goldman’s role in the

1MDB scandal. The New York DFS, which oversees Goldman’s state-chartered banking unit,




33
  Financial Times, “Goldman’s business culture criticised by US officials” (Nov. 2, 2018),
available at https://www.ft.com/content/763db0c4-ddff-11e8-9f04-38d397e6661c.
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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 40 of 101




recently sent subpoenas to Goldman and several of its employees, asking them to appear for

interviews in early 2019.

       99.     Fallout from the 1MDB scandal has also roiled Goldman’s corporate ranks. In

October 2018, Lloyd Blankfein, who met with Low twice, stepped down as CEO of Goldman “to

pursue other interests.” On February 1, 2019, Goldman announced that it would not pay out

deferred bonuses that Blankfein and two other former top executives earned in prior years, and

will instead await the outcome of an investigation into 1MDB. Blankfein stands to lose as much

as $7 million if the full amount of the bonus is withheld. Goldman also said it might claw back

some of the $23 million it paid new CEO David Solomon in 2018.

       100.    The U.S. Justice Department’s Information charging Ng and Low described

Goldman’s business culture – particularly in Southeast Asia – as “highly focused on

consummating deals” and “prioritizing this goal ahead of the proper operation of its compliance

function,” while Goldman’s system of internal controls was described as “easily circumvented.”

Leissner himself explained that it was “very much in line of its culture of Goldman Sachs to

conceal facts from certain compliance and legal employees.”34      Almost immediately, news

reports began to surface casting aspersions over, and calling into significant doubt, Goldman’s

denial of wrongdoing and attempts to portray Leissner and Ng as rogue employees.

       101.    Bloomberg interviewed ten former Goldman partners at their annual former

partners dinner on December 12, 2018, writing that “[t]o them, it’s the biggest threat to




34
   CNN, “Ex-Goldman Sachs banker tied to 1MDB scandal blames bank’s ‘culture’ in guilty
plea” (Nov. 9, 2018), available at https://www.cnn.com/2018/11/09/business/lloyd-blankfein-
goldman-sachs-1mdb/index.html.
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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 41 of 101




Goldman’s reputation since the firm’s post-crisis makeover.”35 Dennis Suskind, the former

Goldman partner who hired Blankfein, was quoted by Bloomberg as saying “[i]t doesn’t smell

right. . . The thing about the firm is that they should have been monitoring it closer.”36 Michael

Dubno, Goldman’s former chief technology officer, described the fallout from 1MDB as “a

terrifying thing. We were more careful, more clean – so whenever you see something like this

it is very disturbing.”37

        102.    CNBC also interviewed several current and former Goldman employees,

describing them as “doubt[ing] the firm’s rogue banker defense.”38 These employees explained

that due to their size and structure, the 1MDB deals should have been heavily reviewed:

        [D]eals as large as those that helped create the $6.5 billion 1MDB fund require
        scrutiny from several top firm-wide committees. The 2012 and 2013 bond
        transactions at the heart of 1MDB were “bought deals” that meant Goldman had
        to use its capital to buy newly created securities before offloading them to
        investors. That’s riskier than in more typical arrangements where Goldman is
        merely distributing bonds to investors.39

According to Bloomberg, “[s]uch ‘hard ‘underwriting’ is highly unusual in the aftermath of the

financial crisis, as banks are careful about meeting capital requirements. . . . All this should have




35
   Bloomberg, “Lloyd Blankfein’s Final Days at Goldman Clouded by 1MDB Scandal” (Dec. 13,
2018), available at https://www.bloomberg.com/news/articles/2018-12-13/lloyd-blankfein-s-
final-days-at-goldman-clouded-by-1mdb-scandal.
36
   Id.
37
   Id.
38
    CNBC, “As Goldman’s 1MDB scandal deepens, insiders doubt the firm’s rogue banker
defense” (Dec. 18, 2018), available at https://www.cnbc.com/2018/12/17/as-goldmans-1mdb-
mess-deepens-insiders-doubt-the-firms-rogue-banker-defense.html.
39
    CNBC, “As Goldman’s 1MDB scandal deepens, insiders doubt the firm’s rogue banker
defense” (Dec. 18, 2018), available at https://www.cnbc.com/2018/12/17/as-goldmans-1mdb-
mess-deepens-insiders-doubt-the-firms-rogue-banker-defense.html.
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         Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 42 of 101




triggered a wringer of committee approvals, especially because bank capital – so precious after

the financial crisis – was at risk.”40

        103.    CNBC further reported that Steven Scherr, who became Goldman’s CFO in

November 2018, was “[a]mong those who approved” 1MDB, and that former CEO Blankfein

and current CEO David Solomon “also reviewed the deals.”41 Indeed, the news outlet quoted

one incredulous former Goldman employee, who still has dealings with the Company, as saying

“[a]nyone who’s been there a long time knows you can’t do big things without senior people

knowing, period. No matter how senior you are, there’s always somebody above you. So a lot

of people had to decide they were comfortable committing billions of dollars to this.”42 The

Financial Times added that:

        The 1MDB deals were scrutinised by at least 30 Goldman executives, including
        Mr. Blankfein and his successor David Solomon, sources have said. But they
        focused on making sure 1MDB officials fully understood that they had picked a
        fundraising structure that would allow Goldman to make unusually large sums in
        exchange for taking on additional risk. By contrast, when the outsized nature of
        Goldman’s 1MDB fees first emerged, senior executives at rival banks told me
        they would never have dared take such proposals to their internal risk committees
        for fear of being laughed out of the room.43

        104.    Indeed, the Financial Times reported that “[u]nder the Bank Secrecy Act,

Goldman employees had an obligation to be especially careful when dealing with people linked




40
    Bloomberg, “Rogue Bankers Don’t Explain Goldman’s 1MDB Mess” (Dec. 21, 2018),
available at https://www.bloomberg.com/opinion/articles/2018-12-21/rogue-bankers-don-t-
explain-goldman-s-gs-1mdb-mess.
41
    CNBC, “As Goldman’s 1MDB scandal deepens, insiders doubt the firm’s rogue banker
defense” (Dec. 18, 2018), available at https://www.cnbc.com/2018/12/17/as-goldmans-1mdb-
mess-deepens-insiders-doubt-the-firms-rogue-banker-defense.html.
42
   Id.
43
   Financial Times, “Goldman Sachs has some serious questions to answer,” Brooke Master,
(Nov. 6, 2018).
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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 43 of 101




to Najib Razak, the former Malaysian prime minister” because “[t]he law requires enhanced due

diligence when handling transactions connected to a ‘politically exposed person.’”44

       105.   The New York Times was much more blunt in its assessment.                Citing the

government’s description of Goldman’s culture and deficient controls, the Times wrote that

Goldman “seems unlikely to be able to slough off its role in the looting of a multibillion-dollar

Malaysian government investment fund as the work of a few miscreants.”45

       106.   In addition, Singapore has expanded its criminal investigation of 1MDB to

include Goldman Sachs. Authorities in that country are investigating whether some of the $600

million in fees that Goldman earned from the three bond deals flowed to a Singapore subsidiary.

       107.   Finally, other financiers and financial firms have found themselves part of the

1MDB scandal:

              a.      Movie production company Red Granite Pictures, founded by Prime

              Minister Najib’s stepson and close Low friend Riza Aziz, paid $60 million to

              settle U.S. Justice Department claims it financed the movie The Wolf of Wall

              Street with money siphoned from 1MDB;

              b.      Deutsche Bank AG’s former Asia Pacific Head of Financial Institutions

              Tan Boon-Kee has been questioned by Singaporean authorities for their roles in

              the scandal;

              c.      On July 10, 2018, Switzerland’s Office of the Attorney General

              announced that six individuals and two Swiss banks are suspected of involvement



44
   Financial Times, “Goldman’s business culture criticised by US officials” (Nov. 2, 2018),
available at https://www.ft.com/content/763db0c4-ddff-11e8-9f04-38d397e6661c.
45
   The New York Times, “Goldman Blames Rogue Staff for Its 1MDB Scandal. That May Not
Wash.” (Nov. 15, 2009), available at https://www.nytimes.com/2018/11/15/business/dealbook/
goldman-sachs-1mdb.html.
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Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 44 of 101




     in using financing intended for 1MDB for other purposes, “most particularly for

     the personal enrichment of the persons involved.”

     d.     Central Bank of Malaysia Governor Muhammad Ibrahim resigned in June

     2018, as questions swirled over the role the central bank played in a land purchase

     deal from Najib’s government, who in turn used the proceeds to pay off 1MDB’s

     debts. The Central Bank has instituted a review of the deal;

     e.     The Monetary Authority of Singapore, that nation’s central bank, has fined

     UBS Group AG, DBS Group Holdings Ltd., Credit Suisse Group AG, United

     Overseas Bank Ltd. and Standard Chartered Plc, among others, for anti-money

     laundering violations in the wake of the 1MDB scandal;

     f.     Falcon Private Bank Ltd., the Zurich-based bank linked to at least $3.8

     billion of 1MDB fund flows, was ordered to cease operations in Singapore while

     Switzerland threatened to withdraw its license if there were any further breaches

     of money-laundering regulations;

     g.     BSI SA, a 143-year-old Swiss bank that worked with 1MDB, lost its

     license to do business in Singapore for breaches of money laundering rules;

     h.     Switzerland’s financial regulator will conduct a detailed review of

     JPMorgan Chase & Co.’s anti-money laundering controls after finding the bank

     seriously breached regulations in its dealings with 1MDB;

     i.     Singapore has banned at least eight financial professionals in connection

     with 1MDB; and

     j.     In 2017, Malaysia’s finance ministry and 1MDB reached a $1.2 billion

     settlement with Abu Dhabi’s sovereign wealth fund over a debt dispute. Now



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        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 45 of 101




              Malaysia is seeking to challenge an arbitration award that requires it to make

              multi-billion dollar payments to IPIC.

              2.      Defendants’ Misconduct Has Exposed Goldman to Billions of Dollars
                      of Liabilities

       108.   The 1MDB scandal has also significantly impacted Goldman’s bottom line. In

2018, Goldman’s share price has performed the worst among its bank peers, plummeting 34%

“thanks to negative headlines tied to the 1MDB scandal,” as CNBC reported.46

       109.   As discussed above, the criminal charges Malaysia filed against Goldman in

December 2018 seek $7.5 billion from the Company in connection with 1MDB. Malaysia’s

attorney general, Tommy Thomas, stated, “Malaysia considers the allegations in the charges

against all the accused to be grave violations of our securities laws.” Finance Minister Lim Guan

Eng later told reporters that “[a]n apology is just not sufficient. Not enough. There must be the

necessary reparations and compensations.” On January 24, 2019, Bloomberg reported that

Malaysian police raided Rahmat Lim & Partners, the law firm that represented Goldman in the

1MDB deals, to search for documents related to the bonds.47

       110.   Initial reports from analysts estimated that Goldman could be liable for up to $2.5

billion. In particular, UBS reported in December 2018 that “potential fines typically range from

the $600 million banking fees Goldman earned from 1MDB transactions to the $2.5 billion sum




46
   CNBC, “Goldman Sachs says it was lied to in 1MDB scandal that has plagued its stock” (Dec.
17, 2018), available at https://www.cnbc.com/2018/12/17/goldman-sachs-says-it-was-lied-to-in-
1mdb-scandal-that-has-plagued-its-stock.html.
47
   Bloomberg, “Malaysian Police Seek 1MDB Deal Documents From Goldman’s Lawyer” (Jan.
24, 2019), available at https://www.bloomberg.com/news/articles/2019-01-24/malaysia-police-
seek-1mdb-deal-documents-from-goldman-s-lawyer.
                                               41
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 46 of 101




embezzled from the funds.”48 Goldman’s stock was downgraded by Morgan Stanley analysts

who cited regulatory concerns.

       111.   As Goldman’s involvement in the scandal deepened, analysts continued to

increase their estimates of Goldman’s exposure. Wells Fargo analyst Mike Mayo reported that

Goldman could face up to $5 billion in costs tied to 1MDB, as well as another 18 months of

“overhang” on the Company’s performance.49 He further noted that “one issue has been and

remains the silence of the CEO to investors” – unfavorably comparing Goldman’s response to

the 1MDB scandal to JPMorgan’s response to the 2012 “London Whale” incident.

       112.   In 4Q2019, Goldman’s provision for litigation and regulatory proceedings surged

to $516 million – from just $9 million a year earlier. CNBC reported that “most of that

[increase] is tied to the 1MDB case, according to a person with direct knowledge of the

matter.”50

       113.   The 1MDB scandal also resulted in Prime Minister Najib losing re-election in

May 2018, ending a 61-year reign for his party. Since his election defeat, Najib has been

arrested and hit with 38 charges related to the scandal. Malaysia’s new prime minister, Mahathir

Mohamad, came to power in part on a pledge to investigate the 1MDB scandal and has taken an

increasingly tough line against Goldman and has accused the bank of cheating the country.




48
   CNBC, “Goldman Sachs likely to boost legal reserves for 1MDB -analysts” (Dec.10, 2018),
available at https://www.cnbc.com/2018/12/05/reuters-america-goldman-sachs-likely-to-boost-
legal-reserves-for-1mdb-analysts.html.
49
   CNBC, “Goldman Sachs says it was lied to in 1MDB scandal that has plagued its stock” (Dec.
17, 2018), available at https://www.cnbc.com/2018/12/17/goldman-sachs-says-it-was-lied-to-in-
1mdb-scandal-that-has-plagued-its-stock.html.
50
   CNBC, “Goldman CEO Solomon on ex-banker’s role in 1MDB scandal: ‘We apologize to the
Malaysian people’” (Jan. 16, 2019), available at https://www.cnbc.com/2019/01/16/goldman-
sachs-ceo-solomon-addresses-1mdb-scandal.html.
                                              42
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 47 of 101




Malaysian officials have told Goldman that they plan to pull the country’s pension money from

Goldman’s asset-management arm.

V.     THE DEFENDANTS VIOLATED SECTION 10(B) OF THE EXCHANGE ACT
       AND BREACHED THEIR FIDUCIARY DUTIES BY KNOWINGLY OR
       RECKLESSLY ISSUING MATERIALLY FALSE AND MISLEADING
       STATEMENTS DURING THE RELEVANT PERIOD

       A.      Defendants Caused Goldman Sachs to Conduct a Massive Stock Repurchase
               Program

       114.    In breach of their fiduciary duties to Goldman and its shareholders, and in

violation of Section 10(b) of the Exchange Act and SEC Rule 10b-5, Defendants issued, and

caused the Company to issue, statements that, in light of the illicit money laundering and bribery

scheme detailed above, were materially false or misleading when made.                     Defendants’

misrepresentations artificially inflated the price of Goldman’s shares, causing the Company to

purchase shares at artificially inflated prices through its significant stock repurchase program.

       115.    By causing Goldman to conduct share repurchases, Defendants signaled to

investors their purported belief that Goldman shares were trading at a discount, which caused

investors to purchase shares and thereby drive the price up.               Further, and relatedly, the

Company’s repurchasing of shares artificially inflated its financial metrics such as earnings per

share, as the repurchases resulted in fewer outstanding shares.             The artificial inflation of

Goldman shares was both financially beneficial to Defendants, as numerous Defendants’

compensation was tied to the Company’s financial performance, and helped mask Goldman’s

illicit activities described herein, thereby helping to perpetuate them.

       116.    In sum, as detailed in the chart below, between September 2012 and September

2018, Goldman repurchased over 150 million shares of its stock, paying over $26 billion:

 Repurchase Date                    Common shares             Average cost        Total Cost
 (Three months ending               (In millions)             per share           (In Millions)


                                                 43
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 48 of 101




 unless otherwise noted)


 September 201851                5.3           $234.93       $1,224
 June 201852                     0             $0            $0
               53
 March 2018                      3.0           $264.32       $800
 December 2017 (year-end)54      29.0          $231.87       $6,721
 September 201755                9.6           $225.12       $2,169
 June 201756                     6.6           $221.92       $1,466
               57
 March 2017                      6.2           $243.22       $1,500
 December 2016 (year-end)58      36.6          $165.88       $6,069
 September 201659                7.8           $162.83       $1,275
 June 201660                     11.1          156.60        $1,744
 March 201661                    10.0          $154.44       $1,550
                            62
 December 2015 (year-end)        22.1          $189.41       $4,195
 September 201563                5.4           $196.00       $1,050
 June 201564                     1.2           $208.20       $245
 March 201565                    6.8           $185.18       $1,250
 December 2014 (year-end)66      31.8          $171.79       $5,469
                    67
 September 2014                  7.1           $176.00       $1,250
 June 201468                     7.8           $160.89       $1,250

51
   3Q 2018 Form 10-Q at p. 67.
52
   2Q 2018 Form 10-Q at p. 67.
53
   1Q 2018 Form 10-Q at p. 63.
54
   2017 Form 10-K at p. 166.
55
   3Q 2017 Form 10-Q at p. 64.
56
   2Q 2017 Form 10-Q at p. 64.
57
   1Q 2017 Form10-Q at p. 63.
58
   2016 Form 10-K at p. 172.
59
   3Q 2016 Form 10-Q at p. 68.
60
   2Q 2016 Form 10-Q at p. 68.
61
   1Q 2016 Form 10-Q at p. 65.
62
   2015 Form 10-K at p. 180.
63
   3Q 2015 Form 10-Q at p. 71.
64
   2Q 2015 Form 10-Q at p. 75.
65
   1Q 2015 Form 10-Q at p. 73.
66
   2014 Form 10-K at p. 190.
67
   3Q 2014 Form 10-Q at p. 77.
68
   2Q 2014 Form 10-Q at p. 77.
                                        44
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 49 of 101




 March 201469                      10.3                    $166.58           $1,720
 December 2013 (year-end)70        39.3                    $157.11           $6,170
 September 201371                  10.2                    $161.59           $1,650
            72
 June 2013                         10.5                    $152.80           $1,600
 March 201373                      10.1                    $150.53           $1,520
 December 2012 (year-end)74        42.0                    $110.31           $4,640
 September 201275                  11.8                    $106.17           $1,250
            76
 June 2012                         14.3                    $104.81           $1,500
 March 201277                      3.3                     $111.28           $362

       117.      In conducting share repurchases, Defendants falsely signaled to the public that

they believed Goldman shares were undervalued and that the repurchases were the best use of

the Company’s cash. The share repurchases also had the effect of growing the Company’s

earnings per share—as share repurchases lower the number of shares outstanding, on which

earnings per share are based—as well as its return on assets, return on equity, and other metrics.

Together, these actions helped inflate Goldman’s share price.

       B.        In Connection with the Share Repurchases, Defendants Issued Materially
                 False and Misleading Statements

       118.      During the Relevant Period, Defendants issued materially false and misleading

statements and omissions in the Company’s Forms 10-K.




69
   1Q 2014 Form 10-Q at p. 74.
70
   2013 Form 10-K at p. 200.
71
   3Q 2013 Form 10-Q at p. 85.
72
   2Q 2013 Form 10-Q at p. 87
73
   1Q 2013 Form 10-Q at p. 79.
74
   2012 Form 10-K at p. 191.
75
   3Q2012 Form 10-Q at p. 78.
76
   2Q 2012 Form 10-Q at p. 77.
77
   1Q 2012 Form 10-Q at p. 72.
                                                45
            Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 50 of 101




                      1.     False and Misleading Statements Regarding Goldman’s Financial
                             Results

          119.        On February 28, 2014, Goldman filed its Form 10-K for the year ended December

31, 2013 (the “2013 Form 10-K”), which was signed by directors Blankfein, Burns, Cohn, Claes

Dahlbäck, George, Johnson, Mittal, Ogunlesi, James Schiro, Deborah Spar, Mark Tucker, and

Viniar.

          120.        The 2013 Form 10-K’s Management Discussion and Analysis section presented

the operating results of Goldman’s investment banking segment, which includes debt

underwriting for 2012 and 2013, on page 60 as follows:
                                                                    Year Ended December
in millions                                                2013               2012           2011
Financial Advisory                                        $1,978            $1,975          $1,987
   Equity underwriting                                     1,659               987           1,085
   Debt underwriting                                       2,367             1,964           1,283
Total Underwriting                                         4,026             2,951           2,368
Total net revenues                                         6,004             4,926           4,355
Operating expenses                                         3,475             3,330           2,995
Pre-tax earnings                                          $2,529            $1,596          $1,360


          121.        On February 23, 2015, Goldman filed its Form 10-K for the year ended December

31, 2014 (the “2014 Form 10-K”), which was signed by directors Blankfein, Burns, Cohn,

Dahlbäck, Flaherty, George, Johnson, Mittal, Ogunlesi, Oppenheimer, Spar, Tucker, Viniar, and

Winkelman.

          122.        The 2014 Form 10-K’s Management Discussion & Analysis section presented the

operating results of Goldman’s investment banking segment, which includes debt underwriting

for 2012 and 2013, on page 59 as follows:
                                                                   Year Ended December
$ in millions                                             2014              2013             2012
Financial Advisory                                       $2,474            $1,978           $1,975
Equity underwriting                                       1,750            1,659               987
Debt underwriting                                         2,240            2,367             1,964
Total Underwriting                                        3,990            4,026             2,951
Total net revenues                                        6,464            6,004             4,926
Operating expenses                                        3,688            3,479             3,333
Pre-tax earnings                                         $2,776           $2,525            $1,593




                                                    46
          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 51 of 101




          123.   Defendants substantially reiterated these false and misleading statements on page

195 in Goldman’s Form 10-K for the year ended December 31, 2015 (the “2015 Form 10-K”),

listing identical results for its 2013 pre-tax earnings attributable to debt underwriting.78

          124.   These financial results were materially false and misleading when made because

the debt underwriting results for 2012 and 2013 were not the result of legitimate and lawful

business practices, but instead due to illicit actions and violations of law arising from and

relating to the 2012 and 2013 1MDB bond offerings that would have been prevented if

Defendants had properly maintained the Company’s internal and risk controls.

                 2.      False Statements Regarding Goldman’s Risk Exposure and Risk
                         Management

          125.   Despite nearly two pages of reporting in the subsection entitled “Selected Country

Exposures,” the 2013 Form 10-K did not disclose Goldman’s role in, or knowledge of, the

bribery schemes arising from the 1MDB deals.79 Defendants substantially reiterated these false

and misleading statements and omissions in the 2014 Form 10-K80 and 2015 Form 10-K.81

          126.   Under the section entitled “Operational Risk Management,” the 2013 Form 10-K

states:

          Operational risk is the risk of loss resulting from inadequate or failed internal
          processes, people and systems or from external events. Our exposure to
          operational risk arises from routine processing errors as well as extraordinary
          incidents, such as major systems failures. Potential types of loss events related to
          internal and external operational risk include:

             •   Clients, products and business practices;

                                                     ***


78
   The 2015 Form 10-K was signed by Blankfein, Burns, Cohn, Flaherty, George, Johnson,
Mittal, Ogunlesi, Oppenheimer, Spar, Tucker, Viniar, and Winkelman.
79
   2013 Form 10-K at p. 114.
80
   2014 Form 10-K at pp. 110-111.
81
   2015 Form 10-K at pp. 108-09.
                                                  47
          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 52 of 101




          We maintain a comprehensive control framework designed to provide a well-
          controlled environment to minimize operational risks. The Firmwide
          Operational Risk Committee, along with the support of regional or entity-specific
          working groups or committees, provides oversight of the ongoing development
          and implementation of our operational risk policies and framework. Operational
          Risk Management is a risk management function independent of our revenue-
          producing units, reports to our chief risk officer, and is responsible for developing
          and implementing policies, methodologies and a formalized framework for
          operational risk management with the goal of minimizing our exposure to
          operational risk.82

          127.   Defendants substantially reiterated these false and misleading statements in the

2014 Form 10-K,83 2015 Form 10-K,84 2016 Form 10-K,85 and 2017 Form 10-K.86

          128.   Under the heading “Risk Identification and Reporting,” the 2013 Form 10-K

states:

          The core of our operational risk management framework is risk identification and
          reporting. We have a comprehensive data collection process, including firmwide
          policies and procedures, for operational risk events.

          We have established policies that require managers in our revenue-producing
          units and our independent control and support functions to escalate operational
          risk events. When operational risk events are identified, our policies require that
          the events be documented and analyzed to determine whether changes are
          required in our systems and/or processes to further mitigate the risk of future
          events.

          In addition, our firmwide systems capture internal operational risk event data, key
          metrics such as transaction volumes, and statistical information such as
          performance trends. We use an internally-developed operational risk management
          application to aggregate and organize this information. Managers from both
          revenue-producing units and independent control and support functions
          analyze the information to evaluate operational risk exposures and identify
          businesses, activities or products with heightened levels of operational risk. We

82
   2013 Form 10-K at p. 117.
83
   2014 Form 10-K at p. 112.
84
   2015 Form 10-K at p. 110.
85
   2016 Form 10-K at p. 105. The 2016 Form 10-K was filed on February 27, 2017 and signed by
Blankfein, Burns, Flaherty, George, Johnson, Kullman, Mittal, Ogunlesi, Oppenheimer, Spar,
Tucker, Viniar, and Winkelman.
86
   2017 Form 10-K at pp. 99-100. The 2017 Form 10-K was filed on February 26, 2018, and
signed by Blankfein, Burns, Flaherty, Geroge, Johnson, Kullman, Mittal, Ogunlesi,
Oppenheimer, Viniar, and Winkelman.
                                                   48
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 53 of 101




       also provide periodic operational risk reports to senior management, risk
       committees and the Board.87

       129.   Defendants substantially reiterated these false and misleading statements in the

2014 Form 10-K,88 2015 Form 10-K,89 2016 Form 10-K,90 and 2017 Form 10-K.91

       130.   The foregoing statements were materially false and misleading when made

because Goldman’s risk framework was not comprehensive. Indeed, as the Indictment filed

against Ng and Low reveals, Goldman’s system of internal controls could be easily circumvented

and the Company’s business culture, particularly in Southeast Asia, prioritized consummation of

deals ahead of the proper operation of its compliance functions. Thus, despite the multitude of

red flags regarding 1MDB and having actual knowledge that Low was inextricably linked to

1MDB, the 1MDB deals were approved after a cursory review.

              3.      False Statements Regarding Goldman’s Internal Controls

       131.   The 2013 Form 10-K also contained two certifications signed by Blankfein and

then-CFO Harvey Schwartz. The first certification stated:

       1. I have reviewed this Annual Report on Form 10-K for the year ended
       December 31, 2013 of The Goldman Sachs Group, Inc.;

       2. Based on my knowledge, this report does not contain any untrue statement of
       a material fact or omit to state a material fact necessary to make the statements
       made, in light of the circumstances under which such statements were made,
       not misleading with respect to the period covered by this report;

       3. Based on my knowledge, the financial statements, and other financial
       information included in this report, fairly present in all material respects the
       financial condition, results of operations and cash flows of the registrant as of,
       and for, the periods presented in this report;



87
   2013 Form 10-K at p. 118.
88
   2014 Form 10-K at p. 111.
89
   2015 Form 10-K at p. 111.
90
   2016 Form 10-K at p. 106.
91
   2017 Form 10-K at p. 100.
                                              49
          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 54 of 101




         4. The registrant’s other certifying officer(s) and I are responsible for establishing
         and maintaining disclosure controls and procedures (as defined in Exchange Act
         Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as
         defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
         have:

                (a) Designed such disclosure controls and procedures, or caused such
                disclosure controls and procedures to be designed under our
                supervision, to ensure that material information relating to the
                registrant, including its consolidated subsidiaries, is made known to us
                by others within those entities, particularly during the period in which this
                report is being prepared;

                (b) Designed such internal control over financial reporting, or caused such
                internal control over financial reporting to be designed under our
                supervision, to provide reasonable assurance regarding the reliability of
                financial reporting and the preparation of financial statements for external
                purposes in accordance with generally accepted accounting principles;

                (c) Evaluated the effectiveness of the registrant’s disclosure controls and
                procedures and presented in this report our conclusions about the
                effectiveness of the disclosure controls and procedures, as of the end of
                the period covered by this report based on such evaluation; and

                (d) Disclosed in this report any change in the registrant’s internal control
                over financial reporting that occurred during the registrant’s most recent
                fiscal quarter (the registrant’s fourth fiscal quarter in the case of an annual
                report) that has materially affected, or is reasonably likely to materially
                affect, the registrant’s internal control over financial reporting; and

         5. The registrant’s other certifying officer(s) and I have disclosed, based on our
         most recent evaluation of internal control over financial reporting, to the
         registrant’s auditors and the audit committee of the registrant’s board of directors
         (or persons performing the equivalent functions):

                (a) All significant deficiencies and material weaknesses in the design or
                operation of internal control over financial reporting which are reasonably
                likely to adversely affect the registrant’s ability to record, process,
                summarize and report financial information; and

                (b) Any fraud, whether or not material, that involves management or
                other employees who have a significant role in the registrant’s internal
                control over financial reporting.92




92
     2013 Form 10-K at Ex. 31.1.
                                                  50
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 55 of 101




       132.    The 2014 Form 10-K,93 2015 Form 10-K,94 2016 Form 10-K,95 and 2017 Form

10-K96 contained substantially similar false certifications.

       133.    The second certification, also signed by Blankfein and Schwartz, stated:

       Pursuant to 18 U.S.C. § 1350, the undersigned officer of The Goldman Sachs
       Group, Inc. (the “Company”) hereby certifies that the Company’s Annual Report
       on Form 10-K for the year ended December 31, 2014 (the “Report”) fully
       complies with the requirements of Section 13(a) or 15(d), as applicable, of the
       Securities Exchange Act of 1934 and that the information contained in the
       Report fairly presents, in all material respects, the financial condition and
       results of operations of the Company.97

       134.    The 2014 Form 10-K,98 2015 Form 10-K,99 2016 Form 10-K,100 and 2017 Form

10-K101 contained substantially similar false certifications.

       135.    The foregoing certifications were materially false and misleading when made

because they did not disclose that Goldman’s system of internal controls could be easily

circumvented and the Company’s business culture, particularly in Southeast Asia, prioritized

consummation of deals ahead of the proper operation of its compliance functions.




93
   2014 Form 10-K at Ex. 31.1.
94
    2015 Form 10-K at Ex. 31.1. These        false and misleading certifications were signed by
Blankfein and then-CFO Schwartz.
95
    2016 Form 10-K at Ex. 31.1. These        false and misleading certifications were signed by
Blankfein and then-CFO Schwartz.
96
    2017 Form 10-K at Ex. 31.1. These        false and misleading certifications were signed by
Blankfein and CFO Martin Chavez.
97
   2013 Form 10-K at Ex. 32.1.
98
   2014 Form 10-K at Ex. 32.1.
99
    2015 Form 10-K at Ex. 32.1. These        false and misleading certifications were signed by
Blankfein and then-CFO Schwartz.
100
     2016 Form 10-K at Ex. 32.1. These       false and misleading certifications were signed by
Blankfein and then-CFO Schwartz.
101
     2017 Form 10-K at Ex. 32.1. These       false and misleading certifications were signed by
Blankfein and CFO Martin Chavez.
                                                 51
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 56 of 101




       C.      In Repurchasing Stock, Goldman Relied on Defendants’ False and
               Misleading Statements

       136.    In repurchasing shares in connection with the stock repurchase program, Goldman

relied on Defendants’ false or misleading statements, either directly or through the “fraud on the

market” doctrine articulated in Basic Inc. v. Levinson, 485 U.S. 224 (1988), and Halliburton Co.

v. Erica P. John Fund, Inc., 134 S. Ct. 2398 (2014), or through the doctrine articulated in

Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972).

       137.    Throughout the Relevant Period, Goldman justifiably expected Defendants to

disclose material information as required by law and SEC regulations in the Company’s periodic

filings with the SEC. Goldman would not have repurchased its securities at artificially inflated

prices had Defendants disclosed all material information then known to them, as detailed in this

Complaint. Thus, reliance by Goldman should be presumed with respect to Defendants’

omissions of material information as established under the Affiliated Ute presumption of

reliance.

       138.    Additionally, the “fraud on the market” presumption applies to Defendants’

misstatements of material fact or failures to disclose material facts. At all relevant times, the

market for Goldman’s common stock was efficient, for the following reasons, among others:

               a.     Goldman’s stock met the requirements for listing, and was listed and

       actively traded on the NYSE, a highly efficient and automated market;

               b.     As a regulated issuer, Goldman filed periodic reports with the SEC and the

       NYSE;

               c.     Goldman’s common-stock trading volume was substantial on a daily basis,

       averaging tens of millions of shares per day throughout the Relevant Period;




                                                52
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 57 of 101




                d.     Goldman regularly communicated with public investors via established

       market communication mechanisms, including through regular disseminations of press

       releases on the national circuits of major newswire services and through other wide-

       ranging public disclosures, such as communications with the financial press and other

       similar reporting services;

                e.     Goldman was followed by numerous securities analysts employed by

       major brokerage firms, who wrote reports that were distributed to those brokerage firms’

       sales force and certain customers, and each of those reports was publicly available and

       entered the public market place; and

                f.     The market price of Goldman’s stock reacted rapidly to new information

       entering the market.

       139.     As a result of the foregoing, the market for Goldman’s common stock promptly

digested current information regarding the Company from all publicly available sources and

reflected such information in the price of Goldman’s stock. The foregoing facts indicate the

existence of an efficient market for trading of Goldman stock and support application of the

fraud-on-the-market doctrine.

       140.     Goldman relied on the integrity of the market price for the repurchase of its stock

and is entitled to a presumption of reliance with respect to Defendants’ misstatements and

omissions alleged in this Complaint.

       141.     Had Goldman known of the material adverse information not disclosed by

Defendants, or been aware of the truth behind Defendants’ material misstatements, the Company

would not have repurchased Goldman stock at artificially inflated prices and been damaged

thereby.



                                                53
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 58 of 101




       D.      Neither the Statutory “Safe Harbor” Nor the “Bespeaks Caution” Doctrines
               Apply to Defendants’ Misrepresentations

       142.    Neither the safe-harbor provision of the Private Securities Litigation Reform Act

of 1995 (“PSLRA”) nor the judicially created “bespeaks caution” doctrine applicable to forward-

looking statements under certain circumstances applies to any of the false or misleading

statements pleaded in this Complaint. None of the subject statements constituted a forward-

looking statement; rather, they were historical statements or statements of purportedly current

facts and conditions at the time the statements were made, including statements about Goldman’s

present financial condition and its internal controls, among other things.

       143.    Alternatively, to the extent any of the false or misleading statements pleaded in

this Complaint could be construed as forward-looking statements, they were not accompanied by

any meaningful cautionary language identifying important facts that could cause actual results to

differ materially from those in the purportedly forward-looking statements. Further, to the extent

the PSLRA’s safe harbor would otherwise apply to any forward-looking statements pleaded in

this Complaint, Defendants are liable for those false or misleading statements because at the time

each of those statements was made, the speaker(s) knew the statement was false or misleading,

or the statement was authorized or approved by an executive officer of Goldman or a Defendant

who knew the statement was materially false or misleading when made.

       E.      Defendants’ Misstatements and Omissions Damaged Goldman

       144.    Throughout the Relevant Period, the price of Goldman’s common stock was

artificially inflated as a result of Defendants’ materially false and misleading statements and

omissions identified above. Defendants engaged in a scheme to deceive the market and a course

of conduct that operated as a fraud or deceit on Goldman, which repurchased shares at artificially

inflated prices.   When Defendants’ prior misrepresentations and fraudulent conduct were


                                                54
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 59 of 101




disclosed and became apparent to the market, the price of Goldman stock fell as the prior

artificial inflation dissipated. As a result of its purchases of Goldman shares during the Relevant

Period, the Company suffered damages under the federal securities laws.

       145.    On November 8, 2018, the last trading day before news reports revealed

Blankfein’s meetings with Low, Goldman common stock traded at $231.65 per share.

       146.    Defendants’ disclosures over the next several weeks revealed to the market the

false and misleading nature of Defendants’ statements and omissions. Throughout the next

several weeks, additional news about the scandal, including the charges filed by the government

of Malaysia, revealed the scope of Goldman’s involvement in the 1MDB scandal.

       147.    In response to those disclosures, the price of Goldman common stock declined

precipitously. Over a period of several weeks, as new information about the scandal continued

to be revealed, Goldman’s share price plummeted by approximately 33%, falling from its

November 8, 2018 share price of $231.65 to close as low as $156.35 on December 24, 2018,

wiping out billions of dollars of market capitalization during that time.

       148.    The decline in Goldman’s share price was a direct result of the nature and extent

of Defendants’ fraud finally being revealed to the market. The timing and magnitude of the

decline in the Company’s share price negates any inference that the losses suffered by Goldman

were caused by changed market conditions, macroeconomic or industry factors, or Company-

specific facts unrelated to Defendants’ fraudulent conduct.

       F.      Defendants Blankfein, Solomon, and Viniar Unlawfully Profited at
               Goldman’s Expense by Selling Shares While in Possession of Non-Public
               Information

       149.    Defendants Blankfein, Solomon, and Viniar took advantage of the artificial

inflation in Goldman’s share price caused by Defendants’ false and misleading statements.

These Defendants collectively sold or otherwise disposed of millions of dollars’ worth of
                                                 55
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 60 of 101




Goldman stock during that time, all while in the possession of material, non-public information.

The Company’s share price was also lifted during this time by the share repurchase program,

which was approved by the Defendants when they knew or recklessly disregarded the unlawful

practices detailed in this Complaint.

          150.      As detailed in the chart below, between 2015 and 2017, before the full extent and

the impact of the 1MDB scandal on Goldman became known, Blankfein sold or otherwise

disposed of over 750,000 shares of Goldman common stock for a total of over $30.6 million

through his exercise of options:

      Transaction    Number    Exercise   Sell Price Per Share        Total Benefit from Exercise of
      Date           of Shares Price                                  Stock Options
                     Exercised Per
                               Share
      5/18/2015      8,625     $131.64    $205.05                     $633,194.03
      5/19/2015      100,811   $131.64    $205.00                     $7,395,696.58
      6/18/2015      96,227    $131.64    $215                        $8,021,482.72
      6/19/2015      7,959     $131.64    $215                        $663,462.24
      11/23/2015     1,750     $131.64    $189.19-$190.86             $102,104.84
      11/24/2015     1,750     $131.64    $187.42-$189.11             $99,227.40
      11/25/2015     1,750     $131.64    $188.85-$189.38             $100,589.71
      11/16/2016     104,614   $199.84    $207.66-211.19              $1,175,048.39
      11/18/2016     104,614   $199.84    $211.29-$211.32             $1,197,894.40
      11/20/2017     161,052   $204.16    $237.83-$238.78             $5,567,549.38
      11/21/2017     161,052   $204.16    $238.65-$239.42             $5,671,817.32
      Total          750,204                                          $30,628,067.02102

          151.      As detailed in the charts below, between 2017 and 2018, before the full extent and

the impact of the 1MDB scandal on Goldman became known, Solomon sold or otherwise

disposed of over 372,000 shares of Goldman common stock for a total of over $40 million,

through both open market transactions and through his exercise of options.




102
   Includes disposal of shares of Goldman stock withheld to fund the exercise price and satisfy
withholding obligations in connection with the exercise of stock options on 11/16/16, 11/18/16,
11/20/17, and 11/21/17.
                                                    56
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 61 of 101



       Exercise of stock options
       Transaction     Number of   Exercise    Sell       Total Value      Total Benefit
       Date            Shares      Price Per   Price      Sell             from Exercise of
                       Exercised   Share       Per                         Stock Options
                                               Share
       2/21/2017      94,564       $204.16     $252.17-   $23,846,282.62   $4,540,096.38
                                               $252.18
       11/20/2017     47,282       $204.16     $238.68-   $11,289,702.24   $1,636,609.12
                                               $238.78
       11/21/2017     47,282       $204.16     $239.28-   $11,319,833.80   $1,666,740.68
                                               $239.42
       11/24/2017     42,987       $78.78      $237.94-   $10,233,957.81   $6,847,441.95
                                               $238.13
       1/29/2018      64,000       $78.78      $271.53-   $17,380,423.49   $12,338,503.49
                                               $271.65
       5/14/2018      9,750        $78.78      $244.67-   $2,385,679.26    $1,617,574.26
                                               $244.69
       7/18/2018      27,125       $78.78      $232.08-   $6,295,517.28    $4,158,609.78
                                               $232.10
       8/1/2018       27,125       $78.78      $237.92-   $6,455,110.85    $4,318,203.35
                                               $238.00
       Total          360,115                             $89,206,507.36   $37,123,779.02103


        Stock sales
        Transaction    Number      Price Per   Total Value
        Date           of Shares   Share
        2/7/2017       4,165       $240.08     $999,939.03
        2/7/2017       2,085       $240.08     $500,571.60
        8/7/2017       3,260       $231.59     $754,997.42
        11/13/2017     2,400       $238.49     $572,385.12
        5/14/2018      405         $242.30     $98,131.95
        Total           12,315                 $2,926,025.11

       152.    As detailed in the charts below, between 2014 and 2018, before the full extent and

the impact of the 1MDB scandal on Goldman became known, Viniar sold or otherwise disposed

of over 600,000 shares of Goldman common stock for a total of over $28.2 million.




103
    Includes disposal of shares of Goldman stock withheld to fund the exercise price and satisfy
withholding obligations in connection with the exercise of stock options on each of the
transaction dates.
                                                57
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 62 of 101



      Exercise of stock options
      Transaction Number        Exercise   Sell Price Per Share   Total Benefit from Exercise of
      Date           of Shares Price                              Stock Options
                     Exercised Per
                                Share
      10/29/2014 135,312        $131.64    $186.17                $7,378,089.79
      11/11/2016 75,000         $199.84    $204.14-$204.22        $312,551.93
      11/14/2016 39,000         $199.84    $209.30-$209.33        $368,959.92
      11/15/2016 39,184         $199.84    $210.99                $436,900.53
      2/13/2017      70,380     $204.16    $246.93-$246.95        $3,011,465.00
      8/1/2017       100,000    $204.16    $227.79-$227.84        $2,367,299.42
      10/20/2017 100,000        $204.16    $245.19                $4,102,890.51
      Total          558,876                                      $17,978,157.06104


      Stock sales
      Transaction Number of           Price      Total Value
      Date        Shares              Per
                                      Share
      11/21/2017    25,000            $238.02    $5,950,507.50
      1/18/2018     17,500            $251.19    $4,395,795.25
      Totals        42,500                       $10,346,302.75

VI.       THE DEFENDANTS VIOLATED SECTION 14(A) OF THE EXCHANGE ACT
          AND SEC RULE 14A-9, AND BREACHED THEIR FIDUCIARY DUTIES BY
          CAUSING THE COMPANY TO FILE MATERIALLY MISLEADING PROXY
          STATEMENTS

          153.     Defendants also violated Section 14(a) of the Exchange Act and SEC Rule 14a-9

by causing Goldman Sachs to issue proxy statements that failed to disclose the 1MDB fraud or

the seriously deficient risk controls and compliance practices that allowed the 1MDB scheme to

begin and helped perpetuate it. Defendants’ failure to disclose those material facts likewise

constitutes a breach of their fiduciary duties.

          A.       Defendants Caused Goldman to Issue Materially False and Misleading
                   Statements in the 2016 Proxy

          154.     On April 8, 2016, Goldman Sachs issued its 2016 Proxy Statement in connection

with the 2016 annual stockholders meeting to be held on May 20, 2016. In the 2016 Proxy

104
   Includes disposal of shares of Goldman stock withheld to fund the exercise price and satisfy
withholding obligations in connection with the exercise of stock options on 11/11/16, 11/14/16,
11/15/16, 2/13/17, 8/1/17, and 10/20/17.
                                                     58
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 63 of 101




Statement, the Defendants solicited stockholder votes to, among other things: (i) elect and re-

elect themselves to the Board; and (ii) approve executive compensation. With respect to each of

these solicited votes, these Defendants issued materially false or misleading statements.

       155.    The 2016 Proxy also described the Board’s key role in risk oversight:

       Our Board’s focus on overseeing risk management enhances our directors’
       ability to provide insight and feedback to senior management, and, if necessary,
       to challenge management, on our firm’s strategic direction

                                             * * *

       Our Board is responsible for overseeing the risk management of our firm, which
       is carried out at the full Board as well as at each of its Committees, and in
       particular the Risk Committee.

       Board risk management oversight includes:

           •   Strategic and financial considerations

           •   Legal, regulatory and compliance risks

           •   Other risks considered by committees

        Risk Committee risk management oversight includes:

           •   Overall risk-taking tolerance and risk governance, as well as the Risk
               Appetite Statement (in coordination with our full Board)

           •   Liquidity, market, credit, operational and model risks

           •   Our Capital Plan, capital ratios and capital adequacy

           •   Technology and cybersecurity risks

       Audit Committee risk management oversight includes:

           •   Financial, legal and compliance risk, in coordination with our full Board

           •   Coordination with our Risk Committee, including with respect [to] our
               risk assessment and risk management practices

       Compensation Committee risk management oversight includes:

           • Design firmwide compensation program and policies that are consistent
             with the safety and soundness of our firm and do not raise risks reasonably

                                                59
          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 64 of 101




                 likely to have a material adverse effect on our firm

             • Jointly with our Risk Committee, annual CRO [Chief Risk Officer]
               compensation-related risk assessment . . .

          Governance Committee risk management oversight includes:

             • Managing risks related to board composition and board and executive
               succession

          Public Responsibilities Committee risk management oversight includes:

             • Brand and reputational risk, including client and business standards
               considerations as well as reports regarding the Firmwide Reputational Risk
               Committee that review certain transactions that may present heightened
               reputational risk

             • Environmental, social and governance risk.105

                                                * * *

          Risk Management

          Effective risk management underpins everything that we do, and compensation
          is carefully designed to be consistent with the safety and soundness of our firm.

          Our CRO presents his annual risk assessment jointly to our Compensation
          Committee and our Risk Committee in order to assist them with evaluating this
          design.

             •   This assessment is focused on whether our program is consistent with
                 regulatory guidance requiring that financial services firms ensure that
                 variable compensation does not encourage imprudent risk-taking.

             •   Our CRO’s view was that the various components of our compensation
                 programs and policies work together to balance risk and reward in a
                 manner that does not encourage imprudent risk-taking.106

          156.   The 2016 Proxy Statement misleadingly suggested that the Board maintained

“effective risk management” and omitted any disclosures regarding (i) Goldman’s ineffective

internal and disclosure controls; (ii) reporting failures that failed to appropriately disclose a



105
      2016 Proxy at 29.
106
      Id. at 40.
                                                   60
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 65 of 101




culture of complicity over compliance within Goldman; and (iii) the subpoenas/requests for

documents by regulatory bodies related to 1MDB.

          157.     The 2016 Proxy Statement harmed Goldman Sachs by interfering with the proper

governance on its behalf that follows stockholders’ informed voting of directors. As a result of

the misleading statements in the 2016 Proxy Statement, Goldman Sachs stockholders voted to re-

elect Blankfein, Burns, Cohn, Flaherty, George, Johnson, Mittal, Ogunlesi, Oppenheimer, Spar,

Tucker, Viniar, Winkelman and elect Kullman to the Board.

          158.     The 2016 Proxy Statement also urged stockholders to approve an advisory vote to

approve executive compensation:

          Our Board and Compensation Committee recognize the fundamental interest our
          shareholders have in executive compensation. We continued our shareholder
          outreach program in 2015, and shareholder feedback obtained through these
          efforts, as well as the results of our prior Say on Pay votes, played an important
          role in our Compensation Committee’s decisions regarding our executive
          compensation. Our 2015 Say on Pay vote received overwhelming shareholder
          support (97% of votes cast), which our Compensation Committee believes
          indicates a very positive response to our program.107

          159.     Highlights from the 2016 Annual Proxy related to the firm’s compensation

practices included:

          Priority on Risk Management and Sound Compensation Practices.

          Our Compensation Committee considers our firm’s safety and soundness in
          making all executive compensation determinations. Together with our Risk
          Committee, the Compensation Committee meets annually with our CRO to
          discuss his risk-related assessment of our compensation program.108

                                               * * *

          Our Compensation Principles guide our Compensation Committee in its review of
          compensation at our firm, including the Committee’s determination of NEO
          [named executive officer] compensation . . .


107
      Id. at 60.
108
      Id. at 6.
                                                  61
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 66 of 101




                                                 * * *

            •      Paying for Performance. Firmwide compensation should directly relate to
                   firmwide performance over the cycle.

            •      Encouraging Firmwide Orientation and Culture. Employees should think
                   and act like long-term shareholders, and compensation should reflect the
                   performance of the firm as a whole.

            •      Compensation should be carefully designed to be consistent with the safety
                   and soundness of our firm. Risk profiles must be taken into account in
                   annual performance reviews, and factors like liquidity risk and cost of
                   capital should also be considered.109

          160.      Those statements misleadingly conveyed that Goldman’s compensation structures

emphasized risk management and encouraged long-term stockholder value.                      In reality,

Goldman’s compensation system actually encouraged—and consistently rewarded—extreme risk

taking and widespread illegal practices.

          161.      Under this false impression, numerous Goldman stockholders voted in support of

compensation to Defendant Blankfein, totaling $23 million in 2015, without the benefit of

material information regarding Blankfein’s continued and ongoing failure to address the 1MDB

fraud.

          B.        Defendants Caused Goldman to Issue Materially False and Misleading
                    Statements in the 2017 Proxy

          162.      On March 17, 2017, Goldman filed its 2017 Proxy Statement in connection with

the 2017 annual stockholders meeting held on April 28, 2017. In the 2017 Proxy Statement,

these Defendants solicited stockholder votes to, among other things: (i) elect and re-elect

themselves to the Board; and (ii) approve executive compensation. With respect to each of these

solicited votes, these Defendants issued materially false or misleading statements.

          163.      The 2017 Proxy also described the Board’s key role in risk oversight:


109
      Id. at 39.
                                                    62
          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 67 of 101




          Our Board’s focus on overseeing risk management enhances our directors’
          ability to provide insight and feedback to senior management, and, if necessary,
          to challenge management, on our firm’s strategic direction.110

                                               * * *

          Our Board is responsible for overseeing the risk management of our firm, which
          is carried out at the full Board as well as at each of its Committees, and in
          particular the Risk Committee.

          Board risk management oversight includes:

             •   Strategic and financial considerations

             •   Legal, regulatory and compliance risks

             •   Other risks considered by committees

          Risk Committee risk management oversight includes:

             •   Overall risk-taking tolerance and risk governance

             •   Our Risk Appetite Statement (in coordination with our full Board)

             •   Liquidity, market, credit, operational and model risks

             •   Our Capital Plan, capital ratios and capital adequacy

             •   Technology and cybersecurity risks

          Public Responsibilities Committee risk management oversight includes:

             •   Brand and reputational risk, including client and business standards
                 considerations as well as reports regarding the Firmwide Reputational
                 Risk Committee that review certain transactions that may present
                 heightened reputational risk

             •   Environmental, social and governance risk.

          Compensation Committee risk management oversight includes:

             •   Firmwide compensation program and policies that are consistent with the
                 safety and soundness of our firm and do not raise risks reasonably likely to
                 have a material adverse effect on our firm

             •   Jointly with our Risk Committee, annual CRO compensation-related risk

110
      2017 Proxy at 29.
                                                 63
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 68 of 101




                   assessment …

          Audit Committee risk management oversight includes:

               •   Financial, legal and compliance risk, in coordination with our full Board

               •   Coordination with our Risk Committee, including with respect [to] our
                   risk assessment and risk management practices

          Governance Committee risk management oversight includes:

               •   Managing risks related to board composition and board and executive
                   succession111

                                                 * * *

          Risk Management

          Effective risk management underpins everything that we do, and compensation is
          carefully designed to be consistent with the safety and soundness of our firm.

          Our CRO presents his annual risk assessment jointly to our Compensation Committee
          and our Risk Committee in order to assist them with evaluating the design of our
          program.

               •   This assessment is focused on whether our program is consistent with regulatory
                   guidance requiring that financial services firms ensure that variable compensation
                   does not encourage imprudent risk-taking.

               •   Our CRO’s view was that the various components of our compensation programs
                   and policies work together to balance risk and reward in a manner that does not
                   encourage imprudent risk-taking.112

          164.     The 2017 Proxy Statement misleadingly suggested that the Board maintained

“effective risk management” and omitted any disclosures regarding (i) Goldman’s ineffective

internal and disclosure controls; (ii) reporting failures that failed to appropriately disclose a

culture of complicity over compliance within Goldman; and (iii) the subpoenas/requests for

documents by regulatory bodies related to 1MDB.




111
      Id. at 30.
112
      Id. at 44.
                                                   64
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 69 of 101




          165.     The 2017 Proxy Statement harmed Goldman by interfering with the proper

governance on its behalf that follows stockholders’ informed voting of directors. As a result of

the misleading statements in the 2017 Proxy Statement, Goldman stockholders voted to re-elect

Blankfein, Burns, Flaherty, George, Johnson, Mittal, Ogunlesi, Oppenheimer, Kullman, Viniar,

and Winkelman to the Board.

          166.     The 2017 Proxy Statement also urged stockholders to approve an advisory vote to

approve executive compensation:

          Our Say on Pay vote gives our shareholders the opportunity to cast an advisory
          vote to approve the compensation of all of our NEOs. We currently include this
          advisory vote on an annual basis; at this meeting our shareholders will vote on an
          advisory basis to determine the future frequency of our Say on Pay votes.113

          167.     Highlights from the 2017 Annual Proxy related to the firm’s compensation

practices included:

          Compensation Committee Risk Management Committee Risk Management
          Oversight Includes:

               •   Design Firmwide compensation program and policies that are consistent
                   with the safety and soundness of our firm and do not raise risks
                   reasonably likely to have a material adverse effect on our firm

               •   Jointly with our Risk Committee, annual CRO compensation-related
                   risk assessment . . . 114

                                               * * *

          Our Compensation Principles guide our Compensation Committee in its review of
          compensation at our firm, including the Committee’s determination of NEO
          compensation . . .

                                               * * *

               •   Paying for Performance. Firmwide compensation should directly relate
                   to firmwide performance over the cycle.


113
      Id. at 67.
114
      Id. at 29.
                                                  65
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 70 of 101




               •   Encouraging Firmwide Orientation and Culture. Employees should
                   think and act like long-term shareholders, and compensation should
                   reflect the performance of the firm as a whole.

               •   Compensation should be carefully designed to be consistent with the
                   safety and soundness of our firm. Risk profiles must be taken into
                   account in annual performance reviews, and factors like liquidity risk
                   and cost of capital should also be considered.115

          168.     Those statements misleadingly conveyed that Goldman Sachs’s compensation

structures emphasized risk management and encouraged long-term stockholder value. In reality,

Goldman’s compensation system actually encouraged—and consistently rewarded—extreme risk

taking and widespread illegal practices.

          169.     Under this false impression, numerous Goldman stockholders voted in support of

compensation to Defendant Blankfein, totaling $22 million in 2016, without the benefit of

material information regarding Blankfein’s continued and ongoing failure to address the 1MDB

fraud.

          C.       Defendants Caused Goldman to Issue Materially False and Misleading
                   Statements in the 2018 Proxy

          170.     On March 23, 2018, Defendants Blankfein, Ogunlesi, Burns, Cohn, Flaherty,

George, Johnson, Kullman, Mittal, Oppenheimer, Viniar, and Winkelman caused Goldman to

file the 2018 Proxy Statement in connection with the 2018 annual stockholders meeting to be

held on May 2, 2018. In the 2018 Proxy Statement, these Defendants solicited stockholder votes

to, among other things: (i) elect and re-elect themselves to the Board; and (ii) approve executive

compensation. With respect to each of these solicited votes, these Defendants issued materially

false or misleading statements.

          171.     The 2018 Proxy also described the Board’s key role in risk oversight:

          Our Board’s focus on overseeing risk management enhances our directors’

115
      Id. at 43.
                                                   66
          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 71 of 101




          ability to provide insight and feedback to senior management, and, if necessary,
          to challenge management, on our firm’s strategic direction.116

                                               * * *

          Our Board is responsible for overseeing the management of the firm’s most
          significant risks on an enterprise-wide basis. This oversight is executed by our
          full Board as well as each of its Committees, in particular our Risk Committee,
          and is carried out in conjunction with the Board’s oversight of firm strategy.

          Board risk management oversight includes:

             •   Strategic and financial considerations

             •   Legal, regulatory, reputational and compliance risks

             •   Other risks considered by Committees

          Risk Committee risk management oversight includes:

             •   Overall risk-taking tolerance and risk governance, including our
                 Enterprise Risk Management Framework

             •   Our Risk Appetite Statement (in coordination with our full Board)

             •   Liquidity, market, credit, operational and model risks

             •   Our Capital Plan, capital ratios and capital adequacy

             •   Technology and cybersecurity risks, including oversight of management’s
                 processes, monitoring and controls related thereto

          Public Responsibilities Committee risk management oversight includes:

             •   Brand and reputational risk, including client and business standards
                 considerations as well as the receipt of reports regarding the Firmwide
                 Reputational Risk Committee regarding certain transactions that may
                 present heightened reputational risk

             •   ESG (environmental, social and governance) risk.

          Compensation Committee risk management oversight includes

             •   Firmwide compensation program and policies that are consistent with the
                 safety and soundness of our firm and do not raise risks reasonably likely to
                 have a material adverse effect on our firm

116
      2018 Proxy at 34.
                                                 67
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 72 of 101




               •   Jointly with our Risk Committee, annual CRO compensation-related risk
                   assessment . . .

          Audit Committee risk management oversight includes:

               •   Financial, legal and compliance risk, in coordination with our full Board

               •   Coordination with our Risk Committee, including with respect our risk
                   assessment and risk management practices

          Governance Committee risk management oversight includes:

               •   Board composition and Board and executive succession117

                                                 * * *

          Risk Management

          Effective risk management underpins everything that we do, and compensation is
          carefully designed to be consistent with the safety and soundness of our firm.

          Our CRO presents his annual risk assessment jointly to our Compensation Committee
          and our Risk Committee in order to assist them with evaluating this design.

               •   This assessment is focused on whether our program is consistent with regulatory
                   guidance requiring that financial services firms ensure that variable compensation
                   does not encourage imprudent risk-taking.

               •   Our CRO’s view was that the various components of our compensation programs
                   and policies work together to balance risk and reward in a manner that does not
                   encourage imprudent risk-taking.118

          172.     The 2018 Proxy Statement misleadingly suggested that the Board maintained

“effective risk management” and omitted any disclosures regarding (i) Goldman’s ineffective

internal and disclosure controls; (ii) reporting failures that failed to appropriately disclose a

culture of complicity over compliance within Goldman; and (iii) the subpoenas/requests for

documents by regulatory bodies related to 1MDB.

          173.     The 2018 Proxy Statement harmed Goldman Sachs by interfering with the proper

governance on its behalf that follows stockholders’ informed voting of directors. As a result of

117
      Id. at 35.
118
      Id. at 48.
                                                   68
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 73 of 101




the misleading statements in the 2018 Proxy Statement, Goldman Sachs stockholders voted to re-

elect Blankfein, Burns, Flaherty, George, Johnson, Mittal, Ogunlesi, Oppenheimer, Viniar,

Winkelman and Kullman to the Board.

          174.     The 2018 Proxy Statement also urged stockholders to approve an advisory vote to

approve executive compensation:

          Our Say on Pay vote gives our shareholders the opportunity to cast an advisory
          vote to approve the compensation of all of our NEOs. We currently include this
          advisory vote on an annual basis.119

          175.     Highlights from the 2018 Annual Proxy related to the firm’s compensation

practices included the following:

          Compensation Committee Risk Management Oversight Includes:

               •   Firmwide compensation program and policies that are consistent with
                   the safety and soundness of our firm and do not raise risks reasonably
                   likely to have a material adverse effect on our firm.

               •   Jointly with our Risk Committee, annual CRO compensation-related
                   risk assessment . . .120

                                               * * *

          Our Compensation Principles guide our Compensation Committee in its review of
          compensation at our firm, including the Committee’s determination of NEO
          compensation . . .

                                               * * *

               •   Paying for Performance. Firmwide compensation should directly relate
                   to firmwide performance over the cycle.

               •   Encouraging Firmwide Orientation and Culture. Employees should
                   think and act like long-term shareholders, and compensation should
                   reflect the performance of the firm as a whole.

               •   Discouraging Imprudent Risk-Taking.           Compensation should be
                   carefully designed to be consistent with the safety and soundness of our

119
      Id. at 69.
120
      Id. at 35.
                                                  69
           Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 74 of 101




                   firm. Risk profiles must be taken into account in annual performance
                   reviews, and factors like liquidity risk and cost of capital should also be
                   considered.121

          176.     Those statements misleadingly conveyed that Goldman’s compensation structures

emphasized risk management and encouraged long-term stockholder value.                    In reality,

Goldman’s compensation system actually encouraged—and consistently rewarded—extreme risk

taking and widespread illegal practices.

          177.     Under this false impression, numerous Goldman stockholders voted in support of

compensation to Defendant Blankfein, totaling $24 million in 2017, without the benefit of

material information regarding Blankfein’s continued and ongoing failure to address the 1MDB

fraud.

VII.      ADDITIONAL DAMAGES TO GOLDMAN

          178.     In addition to the damages caused to Goldman detailed above, Defendants’

misconduct has wrought extreme reputational damage upon Goldman. This is especially harmful

to Goldman because the Company’s business is built on its reputation and its client’s trust. As

Goldman’s Business Principles state, “[o]ur assets are our people, capital and reputation. If any

of these is ever diminished, the last is the most difficult to restore. We are dedicated to

complying fully with the letter and spirit of the laws, rules and ethical principles that govern us.

Our continued success depends upon unswerving adherence to this standard.” Goldman’s

2018 Proxy further noted that “[o]ur Board has long recognized the importance of oversight of

the firm’s culture and reputation, and recent events serve to underscore that we must remain

resolute in this focus.”




121
      Id. at 47.

                                                   70
         Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 75 of 101




        179.       Defendants breached this trust by acting in direct contravention of Goldman’s

publicly-touted credo. This reputational harm undoubtedly translates into long-term damage to

the Company, and has already begun with analysts, such as Morgan Stanley, downgrading the

Company.

        180.       The costs to Goldman in terms of lost revenue and profits from its illicit conduct

have yet to fully materialize. Initial reports, however, suggest the costs associated with the

scandal will continue to grow, perhaps into the billions.          These include costs incurred in

defending against, and the potential settlement of, civil and criminal legal proceedings brought

against the Company related to the 1MDB scandal.

VIII. DEFENDANTS WERE OBLIGATED TO SAFEGUARD THE COMPANY’S
      INTERESTS

        A.         The Duties of All Defendants

        181.       By reason of their positions as officers and/or directors of Goldman and because

of their ability to control the business, corporate, and financial affairs of the Company,

Defendants owed Goldman and its shareholders the duty to exercise due care and diligence in the

management and administration of the affairs of the Company, including ensuring that Goldman

operated in compliance with all applicable federal and state laws, rules and regulations.

Defendants were and are required to act in furtherance of the best interests of Goldman and its

shareholders so as to benefit all shareholders equally and not in furtherance of Defendants’

personal interest or benefit. Each director and officer owes to Goldman and its shareholders the

fiduciary duty to exercise good faith and diligence in the administration of the affairs of the

Company and in the use and preservation of its property and assets, and the highest obligations

of fair dealing.




                                                   71
       Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 76 of 101




       182.   Because of their positions of control and authority as directors or officers of

Goldman, Defendants were able to and did, directly or indirectly, exercise control over the

wrongful acts complained of in this Complaint.        Due to their positions with Goldman,

Defendants had knowledge of material non-public information regarding the Company.

       183.   To discharge their duties, Defendants were required to exercise reasonable and

prudent supervision over the management, policies, practices, controls and financial and

corporate affairs of the Company.      By virtue of such duties, the officers and directors of

Goldman were required to, among other things:

              a.      Manage, conduct, supervise, and direct the employees, businesses and

       affairs of Goldman in accordance with laws, rules and regulations, and the charter and

       by-laws of Goldman;

              b.      Ensure that Goldman did not engage in imprudent or unlawful practices

       and that the Company complied with all applicable laws and regulations;

              c.      Remain informed as to how Goldman was, in fact, operating, and, upon

       receiving notice or information of imprudent or unsound practices, to take reasonable

       corrective and preventative actions, including maintaining and implementing adequate

       financial and operational controls;

              d.      Supervise the preparation, filing, or dissemination of any SEC filings,

       press releases, audits, reports, or other information disseminated by Goldman, and to

       examine and evaluate any reports of examinations or investigations concerning the

       practices, products or conduct of officers of the Company;

              e.      Preserve and enhance Goldman’s reputation as befits a public corporation;




                                               72
       Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 77 of 101




              f.      Exercise good faith to ensure that the affairs of the Company were

       conducted in an efficient, business-like manner so as to make it possible to provide the

       highest quality performance of their business; and

              g.      Refrain from unduly benefiting themselves and other Goldman insiders at

       the expense of the Company.

       B.     The Board and its Committees Were Expressly Charged with Overseeing
              and Monitoring Goldman’s Compliance Function and Risk Exposure

       184.   Among the Board’s most critical duties is overseeing the Company’s compliance

function and risk management structure. Goldman’s 2017 Annual Report to shareholders, for

example, states that “[r]isk management governance starts with the Board, which both directly

and through its committees, including its Risk Committee, oversees our risk management

policies and practices implemented through the E[nterprise] R[isk] M[anagement] framework.”

This ERM framework, Goldman explained “is designed to enable comprehensive risk

management processes” including “legal, compliance, conduct, regulatory and reputational risk

exposures.” The Annual Report explains that:

       The Board receives regular briefings on firmwide risks, including liquidity risk,
       market risk, credit risk, operational risk and model risk from our independent
       control and support functions, including the chief risk officer, and on compliance
       risk and conduct risk from the head of Compliance, on legal and regulatory
       matters from the general counsel, and on other matters impacting our
       reputation from the chair of our Firmwide Client and Business Standards
       Committee. The chief risk officer, as part of the review of the firmwide risk
       portfolio, regularly advises the Risk Committee of the Board of relevant risk
       metrics and material exposures, including risk limits and thresholds established in
       our risk appetite statement.

       185.   Further, the Board maintains several standing committees to monitor specific

aspects of Goldman’s business.       Specifically among these are the Audit Committee, the

Compensation Committee, the Corporate Governance and Nominating Committee, the Risk



                                               73
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 78 of 101




Committee, and the Public Responsibilities Committee. The following chart illustrates the

membership of these committees:

                                 Audit     Compensation     Corporate        Risk          Public
                               Committee    Committee     Governance and   Committee   Responsibilities
                                                           Nominating                    Committee
                                                            Committee

 M. Michele Burns                             Chair             •              •
 Drew G. Faust                                                  •              •              •
 Mark Flaherty                        •                         •              •
 William W. George                              •               •                          Chair
 James A. Johnson                               •               •                             •
 Ellen J. Kullman                               •               •              •
 Lakshmi N. Mittal                              •               •                             •
 Adebayo O. Ogunlesi*              *            *             Chair           *               *
 Peter Oppenheimer               Chair                          •              •
 Jan E. Tighe                         •                         •              •
 David A. Viniar                                                               •
 Mark O. Winkelman                    •                         •           Chair
* Ex officio member of all committees

       186.      The Audit Committee is currently comprised of Oppenheimer, Ogunlesi, Flaherty,

Tighe, and Winkelman. According to Goldman’s Audit Committee Charter, the Audit

Committee’s purpose is to, among other matters, “assist the Board in its oversight of (i) the

integrity of the Company’s financial statements [and] (ii) the Company’s compliance with legal

and regulatory requirements. . . .”

       187.      The Audit Committee’s Charter in effect during the Relevant Period specifically

provided that the job of the Committee is to, among other things:

                 a.     To discuss with the Director of Internal Audit periodically:

                        •      The adequacy of the Company’s internal controls.

                        •      Progress against the Internal Audit plan and the rationale for any
                               changes thereto.

                                                    74
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 79 of 101




                      •       Internal Audit’s control risk assessment, including any significant
                              findings and management’s responses thereto.

                      •       The Internal Audit function and responsibilities and any scope
                              restrictions encountered during the execution of Internal Audit
                              responsibilities.

                      •       Internal Audit’s assessment of the procedures and controls around
                              the firm’s risk management functions.

                      •       Key performance measures           regarding   the   operation   and
                              effectiveness of Internal Audit.

               b.     To discuss with management periodically the guidelines and policies that
                      govern the process by which risk assessment and risk management is
                      undertaken, coordinating with the Risk Committee, as appropriate.

               c.     To discuss with the Company’s General Counsel and/or Chief Compliance
                      Officer any significant legal, compliance or regulatory matters that may
                      have a material impact on the Company’s business, financial statements or
                      compliance policies.

       188.    The Board’s Risk Committee is currently comprised of a majority of the Board,

and currently consists of Ogunlesi, Winkelman, Burns, Faust, Flaherty, Kullman, Oppenheimer,

Tighe, and Viniar. The Risk Committee’s Charter states that its purpose is to “assist the Board in

its oversight of the Company’s overall risk-taking tolerance and management of financial and

operational risks . . . .” The Chair of the Risk Committee is required to liaise with the Chair of

the Audit Committee “to assist that Committee in its review of the Company’s risk assessment

and risk management matters . . . .”

       189.    The Risk Committee’s Charter specifically provides that the job of the Committee

is to, among other things:

               a.     Review and discuss with management the Company’s operational risk

                      strategy and operational risk policies and controls.

               b.     Review and discuss with management the Company’s model risk strategy

                      and model risk policies and controls.

                                               75
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 80 of 101




               c.      Review and discuss with management (and approve as appropriate) the

                       Company’s Enterprise Risk Management Framework.

               d.      To discuss with management periodically risk assessment and risk

                       management matters, including the policies related thereto, coordinating

                       with the Audit Committee, as appropriate.

               e.      Receive, as and when appropriate, reports from Internal Audit and

                       members of management on the results of risk management reviews and

                       assessments.

       190.    In addition, the 2017 Annual Report significantly stated that “[t]he Board, directly

or indirectly through its Risk Committee, approves limits and thresholds included in our risk

appetite statement, at firmwide, business and product levels.”

       191.    Goldman also maintained a Code of Business Conduct and Ethics (the “Code”).

The Code states in relevant part that:

       This Code of Business Conduct and Ethics (the “Code”) embodies the
       commitment of The Goldman Sachs Group, Inc. and its subsidiaries to conduct
       our business in accordance with all applicable laws, rules and regulations and
       the highest ethical standards. All employees and members of our Board of
       Directors are expected to adhere to those principles and procedures set forth in
       this Code that apply to them . . . .

       The Code should be read in conjunction with Our Business Principles, which
       provide in part that, “Integrity and honesty are at the heart of our business. We
       expect our people to maintain high ethical standards in everything they do, both
       in their work for the firm and in their personal lives. Our Business Principles are
       attached to this Code. Each employee, consultant and director should also read
       and be familiar with the portions of the Compendium of Firmwide Compliance
       Policies (the “Compendium”) applicable to such employee, consultant or director,
       which Compendium is not part of this Code.

       SECTION I

       A. Compliance and Reporting



                                                76
Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 81 of 101




Employees and directors should strive to identify and raise potential issues before
they lead to problems, and should ask about the application of this Code whenever
in doubt. Any employee or director who becomes aware of any existing or
potential violation of this Code should promptly notify, in the case of employees,
an appropriate contact listed in the Directory of Contacts included in the
Compendium and, in the case of directors and the Chief Executive Officer, the
Chief Financial Officer and the Principal Accounting Officer (the “Senior
Financial Officers”), one of the firm’s General Counsel (we refer to such contacts
as “Appropriate Ethics Contacts”). The firm will take such disciplinary or
preventive action as it deems appropriate to address any existing or potential
violation of this Code brought to its attention.

Any questions relating to how these policies should be interpreted or applied
should be addressed to an Appropriate Ethics Contact.

B. Personal Conflicts of Interest

A “personal conflict of interest” occurs when an individual’s private interest
improperly interferes with the interests of the firm. Personal conflicts of interest
are prohibited as a matter of firm policy, unless they have been approved by the
firm. In particular, an employee or director must never use or attempt to use his
or her position at the firm to obtain any improper personal benefit for himself
or herself, for his or her family members, or for any other person, including
loans or guarantees of obligations, from any person or entity.

Service to the firm should never be subordinated to personal gain and advantage.
Conflicts of interest should, to the extent possible, be avoided.

Any employee or director who is aware of a material transaction or relationship
that could reasonably be expected to give rise to a conflict of interest or
perceived conflict of interest should discuss the matter promptly with an
Appropriate Ethics Contact.

C. Public Disclosure

It is the firm’s policy that the information in its public communications, including
SEC filings, be full, fair, accurate, timely and understandable. All employees and
directors who are involved in the company’s disclosure process, including the
Senior Financial Officers, are responsible for acting in furtherance of this policy.
In particular, these individuals are required to maintain familiarity with the
disclosure requirements applicable to the firm and are prohibited from knowingly
misrepresenting, omitting, or causing others to misrepresent or omit, material
facts about the firm to others, whether within or outside the firm, including the
firm’s independent auditors. In addition, any employee or director who has a
supervisory role in the firm’s disclosure process has an obligation to discharge his
or her responsibilities diligently.


                                        77
Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 82 of 101




D. Compliance with Laws, Rules and Regulations

It is the firm’s policy to comply with all applicable laws, rules and regulations.
It is the personal responsibility of each employee and director to adhere to the
standards and restrictions imposed by those laws, rules and regulations. . . .

Generally, it is both illegal and against firm policy for any employee or director
who is aware of material nonpublic information relating to the firm, any of the
firm’s clients or any other private or governmental issuer of securities to buy or
sell any securities of those issuers, or recommend that another person buy, sell or
hold the securities of those issuers.

More detailed rules governing the trading of securities by the firm’s employees
and directors are set forth in the Compendium. Any employee or director who is
uncertain about the legal rules involving his or her purchase or sale of any firm
securities or any securities in issuers that he or she is familiar with by virtue of his
or her work for the firm should consult with an Appropriate Ethics Contact before
making any such purchase or sale.

SECTION II

A. Corporate Opportunities

Employees and directors owe a duty to the firm to advance the firm’s legitimate
business interests when the opportunity to do so arises. Employees and directors
are prohibited from taking for themselves (or directing to a third party) a business
opportunity that is discovered through the use of corporate property, information
or position, unless the firm has already been offered the opportunity and turned it
down.

More generally, employees and directors are prohibited from using corporate
property, information or position for personal gain or competing with the firm.
Sometimes the line between personal and firm benefits is difficult to draw, and
sometimes both personal and firm benefits may be derived from certain activities.

The only prudent course of conduct for our employees and directors is to make
sure that any use of firm property or services that is not solely for the benefit of
the firm is approved beforehand through the Appropriate Ethics Contact.

B. Confidentiality

In carrying out the firm’s business, employees and directors often learn
confidential or proprietary information about the firm, its clients/customers,
prospective clients/customers or other third parties. Employees and directors must
maintain the confidentiality of all information so entrusted to them, except when
disclosure is authorized or legally mandated. Confidential or proprietary
information includes, among other things, any non-public information concerning
the firm, including its businesses, financial performance, results or prospects, and

                                          78
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 83 of 101




       any non-public information provided by a third party with the expectation that the
       information will be kept confidential and used solely for the business purpose for
       which it was conveyed. Employees and directors should refer to the policies set
       forth in the Compendium under “The Use and Misuse of Information − Policies
       and Procedures Regarding Confidential or Proprietary Information, The Chinese
       Wall” and “Additional Policies Regarding the Protection of Information
       Intellectual Property Belonging to Goldman” for more detailed guidance on this
       topic.

       C. Fair Dealing

       We have a history of succeeding through honest business competition. We do not
       seek competitive advantages through illegal or unethical business practices. Each
       employee and director should endeavor to deal fairly with the firm’s clients,
       service providers, suppliers, competitors and employees. No employee or director
       should take unfair advantage of anyone through manipulation, concealment, abuse
       of privileged information, misrepresentation of material facts, or any unfair
       dealing practice.

                                                ***

       E. Protection and Proper Use of Firm Assets

       All employees should protect the firm’s assets and ensure their efficient use. All
       firm assets should be used for legitimate business purposes only.

       192.    As discussed below, the Defendants failed to meet their responsibilities and

obligations as provided in the Audit Committee Charter, the Corporate Governance Guidelines,

and the Code of Business Conduct and Ethics. The Defendants’ illegal course of conduct

constituted breaches of their fiduciary duties to Goldman, as well as violations of state and

federal law, and resulted in significant harm to the Company.

IX.    DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       193.    Plaintiff is a current owner of Goldman common stock and was owner of

Goldman common stock during the period relevant to Defendants’ wrongful course of conduct

alleged herein. Goldman is named as a nominal defendant solely in a derivative capacity. This

is not a collusive action to confer jurisdiction on this Court that it would not otherwise have.




                                                 79
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 84 of 101




       194.    Plaintiff brings this action derivatively to redress injuries suffered, and to be

suffered, by the Company as a direct result of the breaches of fiduciary duty, unjust enrichment,

gross mismanagement, contribution and indemnification, and violations of §§ 10(b) and 14(a) of

the Securities Exchange Act of 1934 and Rules 10b-5 and 14a-9. Plaintiff will adequately and

fairly represent the interests of Goldman in enforcing and prosecuting its rights. Prosecution of

this action, independent of the Goldman Board, is in the best interests of the Company.

       195.    The Goldman Board, at the time of filing of this action, consisted of the following

Director Defendants: Solomon, Burns, Flaherty, George, Johnson, Kullman, Mittal, Ogunlesi,

Oppenheimer, Viniar, Winkelman, Tighe, and Faust.          As alleged above, these Defendants

breached their fiduciary duties of loyalty and good faith by (i) making improper statements

regarding Goldman’s business practices, (ii) engaging in a course of conduct that violated the

Company’s policies and public statements, and (iii) failing to disclose to the investing public

material adverse information regarding Goldman’s business.

       196.    Plaintiff has not made any demand upon the Goldman Board to bring an action on

behalf of the Company asserting claims herein to recover damages for the injuries suffered by

Goldman, since such demand would have been a futile, wasteful and useless act, and is therefore

excused, for the reasons stated herein.

       A.      Demand is Excused Because the Defendants’ Conduct Did Not Constitute a
               Valid Exercise of Business Judgment

       197.    Plaintiff did not make a demand on the Goldman Board prior to instituting this

action because the wrongful acts complained of in this Complaint evidence a pattern of conduct

showing a wholesale abandonment of the Defendants’ fiduciary duties. Those acts, which are

detailed herein, include:




                                               80
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 85 of 101




               a.      Disregarding multiple red flags and allowing Goldman bankers to engage

       in pervasive bribery and money laundering schemes;

               b.      Allowing Goldman bankers to use the illicit proceeds of these schemes for

       personal financial reward;

               c.      Allowing Blankfein, Solomon, and Viniar to engage in insider selling

       while in possession of material, non-public information relating to the 1MDB scandal;

               d.      Perpetuating woefully inadequate controls over the Company’s financial

       reporting, corporate governance, and risk monitoring, which allowed the illicit bribery

       and money laundering schemes to begin and persist for years;

               e.      Causing Goldman to file materially false and misleading SEC filings; and

               f.      Approving a share repurchase program through which Goldman bought

       back millions of shares of stock at artificially inflated prices.

       198.    These acts, and the other improper acts set forth in this Complaint which

demonstrate a pattern of misconduct, were not the product of a valid or good faith exercise of

business judgment, nor could they have been.

       199.    The Defendants’ misconduct at the heart of this case constitutes the direct

facilitation of violations of federal law, including knowingly and consciously presiding over

Goldman’s systematic deficiencies and unsound practices in its risk management and oversight

of the Company’s compliance practices.

       200.    The Defendants’ blatant and repeated disregard of their responsibility to safeguard

the Company against wrongdoing indicate they knowingly adopted, endorsed, or condoned a

business strategy that prioritized the consummation of business deals ahead of compliance with




                                                 81
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 86 of 101




laws, which cannot be considered a legitimate exercise of business judgment. Demand is

therefore excused

       B.      Demand is Excused Because the Director Defendants Face a Substantial
               Likelihood of Liability

       201.    Demand is also excused because the Director Defendants face a substantial

likelihood of liability for the claims alleged against them in this Complaint, given their

awareness or conscious disregard of significant red flags relating to the bribery and money

laundering scheme.

       202.    More specifically, Defendants Burns, George, Johnson, Mittal, Ogunlesi, and

Viniar have each been Directors since at least 2012. These Defendants consciously disregarded

multiple red flags concerning the endemic corruption related to the 1MDB deals, including but

not limited to media coverage by highly respected financial publications, “sweeping” corporate

governance changes manded by the Federal Reserve in 2013, and the Fed’s continuing

investigation into the 1MDB deals in 2014. Moreover, as detailed above, Solomon would have

“reviewed” and “scrutinized” the 1MDB deals in 2012 and 2013, also consciously disregarding

the multiple red flags concerning the endemic corruption related to those deals.

       203.    Additionally, the Risk Committee was charged with the obligation to oversee and

monitor Goldman’s risk policies and risk management practices, as well as reviewing and

approving risk appetite limits at “product levels,” while the Audit Committee was charged with

overseeing and monitoring “significant legal, compliance or regulatory matters that may have a

material impact on the Company’s business, financial statements or compliance policies.”

       204.    Members of the Audit Committee were charged with assisting the Board in

overseeing the integrity of the Company’s financial statements and the adequacy and reliability

of disclosures to its stockholders, including the Company’s internal and disclosure controls. But


                                                82
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 87 of 101




Goldman’s internal and disclosure controls were deficient, causing the Company to issue

materially false and misleading information regarding the bribery and money laundering scheme.

       205.    At minimum, demand is excused because the wrongs alleged herein constitute

violations of the Company’s internal policies and charters and cannot be considered a valid

exercise of business judgment. The Individual Defendants’ wrongful conduct was continuous

and occurred throughout the Relevant Period.           This conduct has resulted in ongoing and

continuous harm to the Company.

       206.    The Individual Defendants failed to act, and instead participated in, approved

and/or permitted the wrongs herein to occur. The Board also participated in efforts to conceal or

disguise the wrongs from Goldman stockholders or recklessly, knowingly and/or negligently

disregarded the wrongs complained of herein, and therefore are not disinterested parties. As a

result, the Individual Defendants cannot exercise independent objective judgment in deciding

whether to institute or vigorously prosecute this action, as each member is interested personally

in the outcome of such an action, and each member’s actions have played a part in subjecting the

Company to millions of dollars in liability for potential securities laws violations.

       207.    The Board’s lack of oversight exposed Goldman to other increased risks,

including (i) potential civil and criminal liability, and potential liability for billions of dollars in

compensation to the government of Malaysia; (ii) significant damages resulting from the

Company’s repurchases of stock at prices that were artificially inflated due to Defendants’

materially false or misleading statements during the Relevant Period; (iii) investigations by

federal prosecutors and the Federal Reserve; (iv) exposure to lawsuits, including a shareholder

putative class action asserting federal securities claims against the Company; and (v) serious

damage to the Company’s reputation and goodwill.



                                                  83
             Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 88 of 101




         208.     For these reasons, the Board is incapable or unwilling to take the actions required

to seek the relief requested in this Complaint.         Because a majority of the Board faces a

substantial risk of liability, demand is futile.

         C.       Demand is Futile Because the Directors are Financially Beholden to
                  Goldman

         209.     The principal professional occupation of Solomon is his employment as

Goldman’s CEO, pursuant to which he received and continues to receive substantial monetary

compensation and other benefits. As a result of his high-level position with Goldman, he is

admittedly not independent under either the Company’s own Director Independence Standards or

the listing standards of the NYSE. Because of the lack of independence, Solomon is incapable of

impartially considering a demand, and as a result, demand is futile.

         210.     Similarly, prior to being named a Director in 2013, Viniar served as Goldman’s

CFO, pursuant to which he received and continues to receive substantial monetary compensation

and other benefits. As a result of his high-level position with Goldman, he cannot be considered

independent, and is therefore incapable of impartially considering a demand; as a result, demand

is futile.

         211.     As detailed above, the non-employee Director Defendants each receive lavish

compensation packages for their services as Directors. The continuation of this extravagant

compensation to each Director Defendant is dependent upon his or her cooperation with other

Board members, and his or her participation and acquiescence in the wrongdoing described in

this Complaint. The Director Defendants are therefore incapable of exercising independent and

disinterested judgment, and demand upon them would be futile.

         212.     Through their wrongful acts, the Director Defendants were unjustly enriched at

the expense of, and to the detriment of, Goldman. Any suit by the Director Defendants to


                                                   84
          Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 89 of 101




remedy the wrongs complained of herein would expose these Defendants to significant personal

liability for their breaches of fiduciary duties and other misconduct. Consequently, demand is

futile.

          213.   Demand is also excused because the Director Defendants have excessive financial

relationships and business entanglements with Goldman:

                 a.      When William George was Chairman of Medtronic in 2001, Goldman

          served as Medtronic’s financial advisor in its $3.7 billion purchase of MiniMed Inc. and

          Medical Research Group Inc.; George became a Goldman Director in 2002.

                 b.      Ellen Kullman was employed by DuPont from 1988 through 2015, serving

          as Chairman and CEO from 2009 through 2015. During this time, Goldman was a

          frequent advisor to DuPont. For example, in 2015, Goldman served as a financial advisor

          to DuPont in its $130 billion merger with Dow Chemical. Also in 2015, Goldman served

          as a financial advisor to DuPont in its efforts to fend off activist investment firm Trian

          Fund Management LP, which had announced a plan to break up DuPont and slash costs.

                 c.      Lakshmi Mittal is the Chairman and CEO of ArcelorMittal, the world’s

          largest steelmaking company. In 2013, Goldman advised ArcelorMittal on its sale of a

          $1.1 billion stake in a Canadian iron ore operator to a consortium of Asian steelmakers.

          In 2015, Goldman Sachs joined forces with ArcelorMittal to jointly sue Banco Espirito

          Santo SA over an $835 million loan. In 2018, Goldman advised ArcelorMittal on the $1

          billion acquisition of Indian steel company Essar Steel.

                 d.      Mark Winkelman was the head of commodity trading firm J. Aron, where

          Blankfein was hired in the 1980s. Winkelman was one of Blankfein’s earliest and most

          important champions, and Winkelman appointed Blankfein to head J. Aron’s foreign



                                                  85
         Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 90 of 101




        exchange business in 1984. When J. Aron was acquired by Goldman, Winkelman and

        Blankfein moved to Goldman. Winkelman left Goldman in 1994, but Blankfein returned

        the favor to Winkelman by appointing him to Goldman’s Board in 2014

X.      CLAIMS AGAINST DEFENDANTS

                                          COUNT I
                    (Breach of Fiduciary Duty Against Director Defendants)

        214.    Plaintiff incorporates by reference and realleges each of the foregoing paragraphs

as if fully set forth in this paragraph.

        215.    Each of the Director Defendants owed and owe fiduciary duties to Goldman and

its stockholders. By reason of their fiduciary relationships, the Director Defendants specifically

owed and owe Goldman the highest obligation of good faith, fair dealing, loyalty, and due care

in the administration and management of the affairs of the Company, including the Company’s

financial reporting, internal controls, and compensation practices.

        216.    Each of the Director Defendants consciously and deliberately breached their

fiduciary duties of candor, good faith, loyalty, and reasonable inquiry to Goldman by either

allowing the Company’s employees to engage in the 1MDB fraud or consciously ignoring

numerous red flags related to the 1MDB fraud.

        217.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

        218.    Additionally, the Director Defendants have specific fiduciary duties as defined by

the Company’s corporate governance documents, including the charters of various Board

committees that, had they been discharged in accordance with the Director Defendants’

obligations, would have necessarily prevented the misconduct and the consequent harm to the

Company alleged in this Complaint.


                                                86
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 91 of 101




        219.    Accordingly, to the extent Goldman’s exculpatory provision applies to the

Director Defendants’ acts or omissions while acting in their capacity as directors, it cannot

immunize them from (i) any non-monetary liability; (ii) monetary liability for their breaches of

the duty of loyalty; (iii) monetary liability for acts or omissions not in good faith or that involved

intentional misconduct or a knowing violation of law; or (iv) monetary liability in connection

with any transaction from which they derived an improper personal benefit. As detailed in this

Complaint, the Director Defendants’ misconduct with respect to the 1MDB fraud: (i) involved

breaches of their duty of loyalty; and/or (ii) involved acts or omissions not in good faith or that

involved intentional misconduct or a knowing violation of law.              Goldman’s exculpatory

provision therefore cannot immunize the Director Defendants from liability for that misconduct.

        220.    As a direct and proximate result of the Director Defendants’ breaches of their

fiduciary obligations, Goldman has sustained and continues to sustain significant damages.

        221.    As a result of the misconduct alleged in this Complaint, the Director Defendants

are liable to the Company

                                            COUNT II
                      (Breach of Fiduciary Duty Against Defendant Blankfein)

        222.    Plaintiff incorporates by reference and realleges each of the foregoing allegations

as though fully set forth in this paragraph. This Count is brought against Defendant Blankfein

solely in his capacity as an officer.

        223.    Blankfein owed fiduciary duties to Goldman and its stockholders. By reason of

his fiduciary relationship, Blankfein specifically owed Goldman the highest obligation of good

faith, fair dealing, loyalty, and due care in the administration and management of the affairs of

the Company, including the Company’s financial reporting, internal controls, and compensation

practices.


                                                 87
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 92 of 101




       224.    Blankfein consciously and deliberately breached his fiduciary duties of candor,

good faith, and loyalty by either intentionally causing the Company to issue false financial

statements or consciously ignoring numerous red flags related to the 1MDB fraud.

       225.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       226.    Additionally, Blankfein is not entitled to claim any immunity under Section

102(b)(7) to the extent this claim is asserted against him in his capacity as an officer of the

Company.

       227.    As a direct and proximate result of Blankfein’s breaches of his fiduciary

obligations, Goldman has sustained and continues to sustain significant damages.

       228.    As a result of the misconduct alleged in this Complaint, Blankfein is liable to the

Company.

                                          COUNT III
                      (Unjust Enrichment Against the Individual Defendants)

       229.    Plaintiff incorporates by reference and realleges each of the foregoing allegations

as though fully set forth in this paragraph.

       230.    During the Relevant Period, Defendants received bonuses, stock options, stock, or

similar compensation from Goldman that was tied to the Company’s financial performance, or

otherwise received compensation that was unjust in light of Defendants’ bad faith conduct,

violation of the Company’s code of ethics, and self-dealing.

       231.    Plaintiff, as a stockholder and representative of Goldman, seeks restitution from

Defendants and seeks an order of this Court disgorging all profits, benefits, and other

compensation—including any salary, options, performance-based compensation, and stock—

obtained by Defendants due to their wrongful conduct alleged in this Complaint.


                                               88
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 93 of 101




                                     COUNT IV
                 (Gross Mismanagement Against the Individual Defendants)

       232.    Plaintiff incorporates by reference and realleges each of the foregoing allegations

as though fully set forth herein.

       233.    Each of the Individual Defendants had a duty to Goldman and its shareholders to

prudently supervise, manage and control the operations, business and internal financial

accounting and disclosure controls of the Company.

       234.    The Individual Defendants, by their actions and by engaging in the wrongdoing

described herein, abandoned and abdicated their responsibilities and duties with regard to

prudently managing the business of Goldman in a manner consistent with the duties imposed

upon them by law. By committing the misconduct alleged herein, the Individual Defendants

breached their duties of due care, diligence, and candor in the management and administration of

Goldman’s affairs and in the use and preservation of the Company’s assets.

       235.    During the course of the discharge of their duties, the Individual Defendants knew

or recklessly disregarded the unreasonable risks and losses associated with their misconduct, yet

the Individual Defendants caused Goldman to engage in the scheme complained of herein which

they knew had an unreasonable risk of damage to Goldman, thus breaching their duties to the

Company. As a result, the Individual Defendants grossly mismanaged Goldman.

       236.    By reason of the foregoing, Goldman was damaged.

       237.    Plaintiff, on behalf of Goldman, has no adequate remedy at law.

                                       COUNT V
           (Contribution and Indemnification Against the Individual Defendants)

       238.    Plaintiff incorporates by reference and realleges each of the foregoing allegations

as though fully set forth herein.



                                               89
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 94 of 101




       239.    Goldman is alleged to be liable to various persons, entities and/or classes by

virtue of the same facts or circumstances as are alleged herein that give rise to Defendants’

liability to Goldman.

       240.    Goldman’s alleged liability on account of the wrongful acts, practices and related

misconduct described above arises, in whole or in part, from the knowing, reckless, disloyal

and/or bad faith acts or omissions of the Individual Defendants as alleged above, and Goldman is

entitled to contribution and indemnification from each Individual Defendant in connection with

all such claims that have been, are or may in the future be asserted against, Goldman by virtue of

the Individual Defendants’ misconduct.

       241.    By reason of the foregoing, Goldman was damaged.

       242.    Plaintiff, on behalf of Goldman, has no adequate remedy at law.

                                         COUNT VI
         (Violation of §10(b) of the Securities Exchange Act of 1934 and Rule 10b-5
                             Against the Individual Defendants)

       243.    Plaintiff incorporates by reference and realleges each of the foregoing allegations

as though fully set forth herein.

       244.    During the Relevant Period, in connection with Goldman’s repurchases of

Goldman shares, Individual Defendants disseminated or approved false or misleading statements

about Goldman as detailed above, which they knew or recklessly disregarded were false or

misleading and were intended to deceive, manipulate, or defraud. Those false or misleading

statements and Individual Defendants’ course of conduct were designed to artificially inflate the

price of the Company’s common stock.

       245.    At the same time that the price of the Company’s common stock was inflated due

to the false or misleading statements made by Individual Defendants, Individual Defendants

caused the Company to repurchase millions of shares of its own common stock at prices that
                                               90
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 95 of 101




were artificially inflated due to Individual Defendants’ false or misleading statements.

Individual Defendants engaged in a scheme to defraud Goldman by causing the Company to

purchase millions of shares of Goldman stock at artificially inflated prices, as detailed above.

       246.    Individual Defendants violated Section 10(b) of the Exchange Act and SEC Rule

10b-5 in that they (a) employed devices, schemes, and artifices to defraud; (b) made untrue

statements of material facts or omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading;

and/or (c) engaged in acts, practices, and a course of business that operated as a fraud or deceit

upon Goldman in connection with the Company’s purchases of Goldman stock during the

Relevant Period.

       247.    Individual Defendants, individually and in concert, directly and indirectly, by the

use of means or instrumentalities of interstate commerce or of the mails, engaged and

participated in a continuous course of conduct that operated as a fraud and deceit upon the

Company; made various false or misleading statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; made the above statements intentionally or with a

severely reckless disregard for the truth; and employed devices and artifices to defraud in

connection with the purchase and sale of Goldman stock, which were intended to, and did: (a)

deceive Goldman regarding, among other things, the 1MDB scandal, the Company’s internal

controls and compensation practices, and the Company’s financial statements; (b) artificially

inflate and maintain the market price of Goldman stock; and (c) cause Goldman to purchase the

Company’s stock at artificially inflated prices and suffer losses when the true facts became




                                                91
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 96 of 101




known. Throughout the Relevant Period, Individual Defendants were in possession of material,

adverse non-public information regarding the 1MDB scandal.

       248.    Defendants were among the senior management and the directors of the

Company, and were therefore directly responsible for, and are liable for, all materially false or

misleading statements made, as alleged above.

       249.    As described above, Individual Defendants acted with scienter throughout the

Relevant Period, in that they acted either with intent to deceive, manipulate, or defraud, or with

severe recklessness.    The misstatements and omissions of material facts set forth in this

Complaint were either known to Defendants or were so obvious that Defendants should have

been aware of them. Throughout the Relevant Period, Defendants also had a duty to disclose

new information that came to their attention and rendered their prior statements to the market

materially false or misleading.

       250.    Individual Defendants’ false or misleading statements and omissions were made

in connection with the purchase or sale of the Company’s stock.

       251.    As a result of Defendants’ misconduct, Goldman has and will suffer damages in

that it paid artificially inflated prices for Goldman common stock purchased as part of the

repurchase program and suffered losses when the previously undisclosed facts relating to the

1MDB fraud were disclosed beginning in November 2018. Goldman would not have purchased

these securities at the prices it paid, or at all, but for the artificial inflation in the Company’s

stock price caused by Defendants’ false or misleading statements.

       252.    As a direct and proximate result of Defendants’ wrongful conduct, the Company

suffered damages in connection with its purchases of Goldman stock during the Relevant Period.




                                                92
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 97 of 101




By reason of such conduct, Defendants are liable to the Company pursuant to Section 10(b) of

the Exchange Act and SEC Rule 10b-5.

       253.     Plaintiff brings this claim within two years of the discovery of the violation and

within five years of the violation.

                                       COUNT VII
    (Breach of Fiduciary Duty for Insider Selling and Misappropriation of Confidential
            Information Against Defendants Blankfein, Solomon, and Viniar)

       254.     Plaintiff incorporates by reference and realleges each of the foregoing allegations

as though fully set forth in this paragraph.

       255.     At the time of the stock sales set forth above, Defendants Blankfein, Solomon,

and Viniar knew or consciously disregarded the information described in this Complaint

regarding the 1MDB fraud and sold Goldman common stock on the basis of that information.

       256.     The information described above was proprietary non-public information

concerning the Company’s unlawful conduct associated with 1MDB. The information was a

proprietary asset belonging to the Company, which Blankfein, Solomon, and Viniar used for

their own benefit when they sold Goldman common stock.

       257.     Blankfein, Solomon, and Viniar’s sales of Goldman common stock while in

possession and control of this material adverse non-public information was a breach of their

fiduciary duties of loyalty and good faith.

       258.     Because the use of the Company’s proprietary information for their own gain

constitutes a breach of the fiduciary duties of Blankfein, Solomon, and Viniar, the Company is

entitled to the imposition of a constructive trust on any profits Defendants Blankfein, Solomon,

and Viniar obtained thereby.

                                          COUNT VIII
              (Violation of Section 14(a) of the Exchange Act and SEC Rule 14a-9
                                Against the Director Defendants)
                                                93
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 98 of 101




       259.    Plaintiff incorporates by reference and realleges each of the foregoing allegations

as though fully set forth herein.

       260.    This claim is based solely on negligence, not on any allegation of reckless or

knowing conduct by or on behalf of the Director Defendants. Plaintiff specifically disclaims any

allegations of, reliance upon any allegation of, or reference to any allegation of fraud, scienter, or

recklessness with regard to this claim.

       261.    SEC Rule 14a-9 (17 C.F.R. § 240.14a-9), promulgated under Section 14(a) of the

Exchange Act, provides:

       No solicitation subject to this regulation shall be made by means of any proxy
       statement form of proxy, notice of meeting or other communication, written or
       oral, containing any statement which, at the time and in the light of the
       circumstances under which it is made, is false or misleading with respect to any
       material fact, or which omits to state any material fact necessary in order to make
       the statements therein not false or misleading or necessary to correct any
       statement in any earlier communication with respect to the solicitation of a proxy
       for the same meeting or subject matter which has become false or misleading.

       262.    The Director Defendants negligently issued, caused to be issued, and participated

in the issuance of materially misleading written statements to shareholders which were contained

in the 2016, 2017, and 2018 Proxies. These Proxies contained proposals to Goldman

shareholders urging them to elect and re-elect members of the Board and provide advisory votes

on issues relating to executive compensation. These Proxies, however, misleadingly suggested

that the Board maintained “effective risk management” and omitted any disclosures regarding (i)

Goldman’s ineffective internal and disclosure controls; (ii) reporting failures that failed to

appropriately disclose a culture of complicity over compliance within Goldman; and (iii) the

subpoenas/requests for documents by regulatory bodies related to 1MDB; (iv) the fact that

Goldman’s compensation program actually encouraged, and consistently rewarded, extreme risk-

taking and illegal practices.


                                                 94
        Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 99 of 101




       263.    By reason of this conduct, the Director Defendants violated Section 14(a) of the

Exchange Act. As a direct and proximate result of this wrongful conduct, Goldman mislead

and/or deceived its shareholders by making misleading statements that were an essential link in

shareholders heeding Goldman’s recommendations to re-elect and elect the current Board and

provide advisory votes on executive compensation.

       264.    The false and misleading information contained in the Proxies was material to

Goldman’s shareholders in determining whether to re-elect and elect the current Board and

provide advisory votes on executive compensation. This information was also material to the

integrity of the directors who were proposed for election to the Board. Plaintiff, on behalf of

Goldman, thereby seeks relief for damages inflicted upon the Company based upon the

misleading Proxy Statements in connection with the improper election and reelection of the

members of the Board, and advisory votes on executive compensation.

       265.    This action was timely commenced within three years of the date of each Proxy

Statement and within one year from the time Plaintiff discovered or reasonably could have

discovered the facts on which this claim is based.

XI.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment as follows:

       (a)     Directing the Individual Defendants to account to Goldman for all damages

               sustained or to be sustained by the Company by reason of the wrongs alleged

               herein;

       (b)     Requiring the Individual Defendants to return to Goldman all salaries and the

               value of other remuneration of whatever kind paid to them by the Company

               during the time they were in breach of the fiduciary duties they owed to Goldman;



                                                95
       Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 100 of 101




       (c)    Directing the Individual Defendants to pay interest at the highest rate allowable

              by law on the amount of damages sustained by the Company as a result of the

              Individual Defendants’ culpable conduct;

       (d)    Awarding Plaintiff the costs and disbursements of this action, including

              reasonable attorneys’ and experts’ fees and expenses; and

       (e)    Granting such other and further relief as the Court may deem just and proper.

XII.   JURY DEMAND

       Plaintiff demands a trial by jury.

Dated: February 19, 2019                    Respectfully Submitted,

                                            SAXENA WHITE P.A.
                                            /s/ Steven B. Singer
                                            Steven B. Singer
                                            10 Bank Street, 8th Floor
                                            White Plains, NY 10606
                                            Phone: (914) 437-8551
                                            Fax: (888) 631-3611
                                            - and -

                                            SAXENA WHITE P.A.
                                            Maya Saxena
                                            Joseph E. White, III
                                            Brandon T. Grzandziel
                                            Adam D. Warden
                                            150 E. Palmetto Park Road Suite 600
                                            Boca Raton, FL 33432
                                            Phone: (561) 394-3399
                                            Fax: (561) 394-3382

                                            Counsel for Plaintiff Fulton County
                                            Employees’ Retirement System




                                              96
       Case 1:19-cv-01562-VSB Document 1 Filed 02/19/19 Page 101 of 101



                                         VERIFICATION

        f, Shon Woodall, being duly sworn, declare as follows:

       I am the Chairman of Plaintiff Fulton County Employees' Retirement System ("Fulton

County" or "Plaintiff') and am authorized to act on its behalf with respect to this litigation and the

filing of the Verified Shareholder Derivative Complaint ("Complaint").           Fulton County is a

shareholder of The Goldman Sachs Group, Inc., and has been throughout the relevant period

defined in the Complaint. Fulton County has retained competent counsel and is ready, willing,

and able to pursue this action vigorously on behalf of the Company.            I have reviewed the

Complaint, and based upon discussions with and reliance upon counsel, and as to those facts of

which I have personal knowledge, the Complaint is true and correct to the best of my knowledge,

information, and belief.

       I declare under penalty of perjury that the foregoing is true and correct.


Signed and Accepted:


Dated: Februru·y@., 2019
